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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

Docket No.-

 

WILLIAM STOVALL, Civil Action

Petitioner; On Petition For A Writ of

Habeas Corpus By A Prisoner In
- VS. - State Custody.

JAMES SLAUGHTER, ET. AL.,  : Petition Pursuant To:

Respondents. 28 U.S.C. 2254.

 

 

 

BRIEF AND APPENDIX ON BEHALF OF PETITIONER

 

William Stovall # 66145
Lock Bag R

East Jersey State Prison
Rahway, New Jersey 07065
Petitioner, Pro Se

PRESENTLY CONFINED
 

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GROUND TWO

ADMISSION OF POLYGRAPH EVIDENCE VIOLATED PETITIONER'S SIXTH
AMENDMENT RIGHT TO FAIR TRIAL AND EFFECTIVE ASSISTANCE OF
APPELLATE COUNSEL, AND FOURTEENTH AMENDMENT DUE PROCESS RIGHTS
WHEN APPELLATE COUNSEL PERMITTED THIS EVIDENCE BEFORE THE JURY
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AND FOURTEENTH AMENDMENTS.

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Court Denied Due Process By Failing To Rule On
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5T refers to stenographic transcript of April 6, 1994.

6T refers to stenographic transcript of April 18, 1994.

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8T refers to stenographic transcript of April 20, 1994.

9T refers to stenographic transcript of April 21, 1994.

10T refers to stenographic transcript of April 24, 1994.

11T refers to stenographic transcript of April 27, 1994.

12T refers to stenographic transcript of April 28, 1994.

13T refers to stenographic transcript of April 29, 1994.

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14T refers to stenographic transcript of June 17, 1994.
15T refers to stenographic transcript of September 14, 2012.

Db 1 to 58 refers to defendant's brief submitted with the
Superior Court of New Jersey Appellate Division on denial of his
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Da 1 to 163 refers to defendant's separate appendix to that
brief.

 

Drb 1 to 20 refers to defendant's reply brief submitted with the
Superior Court of New Jersey Appellate Division, on appeal of
the denial of his motion to correct an illegal sentence of
November 8, 2018.

Pet. para. 1 to 18 refers to petitioner's federal habeas corpus
petition.

 

Pa 1 to 2 refers to petitioner's appendix attached to this
brief.

Attachments To Petition:

 

Attachment 1.1 to 1.14 refers to Opinion of the Superior Court
of New Jersey, Law Division, On Petition
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Attachment 2.1 to 2.10 refers to Opinion of the Superior Court
Of New Jersey, Appellate Division, On
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Attachment 3.1 to 3.4 refers to the Opinion of the Superior
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Attachment 4.1 to 4.14 refers to the Opinion of The Superior
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STATEMENT OF PROCEDURAL HISTORY

 

On December 16, 1991 the Mercer County grand jury returned

Indictment 91-12-1439 charging petitioner-defendant William

Stovall,

Count
1 N
2 N.
4 N.
6 N.
7 N.
8 N.
9 N.
10 N.
11 N.

as follows:

1:2 N.J. 5,

statute
-J.S. 2C:5-2
J.S. 2C:5-1,29-5a
J.S. 2C:5-1,29-6a(2)
J.S. 2C:5-1,39-4a
J.S. 2C:5-1,39-4c
J.S. 2C:5-1,39-5b
J.S. 2C:5-1,39-5f
J.S. 2C:5-1,39-3a
J.S. 2C:5-1,39-3c
J.S. 20C:5-1, 39-3f (2)

para. 5].

 

[Da 1 to 12; Pet

Degree

Second

Second

Second

Second

Third

Third

Third

Third

Fourth

Fourth

Crimes

Conspiracy to escape

Attempted escape

Attempted procuring of
escape implements

Attempted possession of
firearms for unlawful
purposes

Attempted possession
of destructive devices
for unlawful purposes

Attempted unlawful
possession of handguns

Attempted unlawful
possession of assault
firearms

Attempted unlawful
possession of a
prohibited device

Attempted unlawful
possession of a silencer

Attempted unlawful
possession of body armor
piercing ammunition
 

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The two remaining counts, three and five, charged co-
defendant Denard Pinckney, who was severed prior to trial.

On April 29, 1994 a jury convicted petitioner of all counts
in the Superior Court of New Jersey, Law Division of Mercer

County. [Da 1 to 14; Pet. para. 6].

 

On June 17, 1994 Judge Schroth, sentenced petitioner on
the ten counts he was convicted of at a jury trial. Concurrent
is reflected as to every count within the initial judgment of
conviction, except for count two. Count two is reflected as
consecutive to the sentence petitioner was serving at the time
of sentencing. This results in an aggregate sentence of 20
years total with 10 years parole ineligibility.

However, upon further examination this is obviously
erroneous. With realistic candor, while it would benefit
petitioner, it is admitted to urge this document controls would
be contrary to the well-established principle, a criminal
defendant, (or any party in any litigation for that matter),
cannot inure benefit based on any obvious omission, clerical or
typographical error, or as here, an erroneous contradiction.

Accordingly, petitioner is aware basing arguments contrary
to these principles could be readily classified as ridiculous
baseless assertions resultant in summary denial, and will

refrain from such.
 

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Both the sentencing transcript, (which petitioner is aware
does control), and which contradicts the judgment itself, as
well as the Appellate Division ruling on direct appeal does,
{again admittedly to the detriment of petitioner), correctly
reflect otherwise.

The stenographic transcript of the judge's statement at the
original sentencing in 1994 makes it obvious that he verbally
imposed a 30 year sentence with 20 years of parole
ineligibility. Subsequent to that someone completed a
typewritten judgment of conviction reflecting at the most, a 20
year sentence with 10 years of parole ineligibility, which he
signed.

At most, because the attachment detailing the sentences
imposed on each count viewed alone results in a conclusion that
but a 20 year term with 10 years of parole ineligibility was the
result.

What actually transpired at sentencing was the court
dismissed count one, conspiracy, as merged into the substantive
convictions. On count two, a motion for an extended term was
granted. The court imposed 20 years with 10 years parole
ineligibility consecutive to sentences previously imposed, and
to serve in the future.

On count four, a consecutive sentence of 10 years with 10

years of parole ineligibility was imposed, "as mandated by
 

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N.J.S. 2C:43-6g." A concurrent sentence of 10 years with 10
years of parole ineligibility was imposed on count six. All
other sentences on the remainder of the counts were ordered run

concurrent. (Da 15 to 18; Pet. para. 1 to 7].

 

On December 2, 1996 the Superior Court of New Jersey,
Appellate Division affirmed the convictions, but remanded the
matter for resentencing as to the aggregate term of 30 years
with 20 years parole ineligibility. [Da 19 to 38; Pet. para. 8,
9(a) to (f)]. (Therein, that court correctly referred to what
the sentencing judge had accomplished consistent with what the
verbatim transcript reflected).

On March 19, 1997 the Supreme Court of New Jersey denied a
petition for certification. State v. Stovall, 149 N.J. 35

(1997). [Pet. para. 9(g)(1) to (6)].

 

Petitioner did not file a timely petition for certiorari
with the Supreme Court of the United States. [Pet. para. 9(h)].
On May 21, 1997 the Hon. Rosemarie Williams, J.S.C.

resentenced petitioner to 20 years. [Da 39 to 40; Pet. para.

 

33].

On November 17, 1997 a petition for post-conviction relief
was filed. [Da 41; Pet. para. 1l(a) (1) to (5)].

On May 1, 1998 Assistant Prosecutor Hand contacted Judge

Williams and stated that the custodial term was 20 years on the
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judgment of conviction and should be 30 years with 15 parole
ineligibility. [Da 42].
On May 6, 1998 petitioner was resentenced to an aggregate

term of thirty years with ten years parole ineligibility, as

 

 

 

follows:
Counts Criminal Offenses Sentences
1 Conspiracy Count vacated
2 Attempted escape 20 years,
10 years minimum
(Consecutive to prior
sentences being served)
4 Attempted procuring of escape 10 years, (Consecutive
implements to Count 2)
6 Attempted possession of weapons 10 years
for unlawful purposes 5 years minimum
(Concurrent)
7 Attempted unlawful possession 10 years
of a weapon (Concurrent)
8 Attempted unlawful possession 5 years
of a weapon (Concurrent)
# Attempted unlawful possession 5 years
of a weapon (Concurrent)
10 Attempted unlawful possession 5 years
of a prohibited device (Concurrent)
11 Attempted unlawful possession 18 months
of a prohibited device (Concurrent)
12 Attempted unlawful possession 18 months
of a prohibited device (Concurrent)

[Da 43 to 44].
 

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On August 11, 2005 the Hon. Bill Mathesius, J.S.C., Law
Division of Mercer County, stated in writing that a post-
conviction petition was not time barred. [Da 45].

On September 19, 2012 a post-conviction petition was denied
in the Law Division. [Da 46 to 47; Pet. para. 11(a) (6) to (8);

Attachment 1.1 to 1.14].

 

On February.17, 2016 a panel of the Superior Court of New
Jersey, Appellate Division affirmed the denial of post-

conviction relief. [Da 46 to 55; Attachment 2.1 to 2.10].

 

On June 27, 2016 petitioner filed a motion to correct an
illegal sentence in the Law Division, with a brief in support.

[Da 58 to 89; Pet. para. 11(b) (1) to (5)].

 

On July 11, 2016 the Supreme Court denied certification
\
relative to the denial of post-conviction relief. State v.

Stovall, 227 N.J. 21 (2016). [Da 90; Pet. para. 11(d)(1)].

 

On May 30, 2017 petitioner filed a supplemental brief in

the Law Division regarding his pending motion to correct an

illegal sentence. [Da 91 to 149].

On August 29, 2017 the Hon. Thomas M. Brown, J.S.C., Law
Division of Mercer County, denied the motion. [Da 150 to 153;
Pet. para. 11(d) (2); Attachment 3.1 to 3.4].

On October 3, 2017 a timely notice of appeal, the required

criminal case information statement, and motions to proceed as
 

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an indigent and accelerate the appeal were filed. [Da 154 to .

161).

—_—=

On December 18, 2017 the Hon. Carmen Messano, P.J.A.D.,
granted the motion to proceed as an indigent, and denied the

motion to accelerate. (Da 162; 163].

On September 4, 2019 the Superior Court of New Jersey,
Appellate Division affirmed the denial of the motion to correct
an illegal sentence. [Pet. para. 11(d) (6); Attachment 4.1 to

4.14].

 

On January 28, 2020 the Supreme Court of New Jersey denied

a petition for certification. State v. Stovall, “Nw.

 

(2019). [Pet. para. ll(e)].

 

Petitioner has a future Pennsylvania sentence to serve
which is concurrent with an additional New Jersey sentence and a

federal parole violation. [Pet. para. 17(a) to (d)].
|
1

' Ducret.

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STATEMENT OF FACTS

a. Trial Testimony:

(1) The Prosecution

The state presented testimony reflecting the following

sequence of events:

On February 7, 1991 inmate Daniel Ducret who was confined

at Trenton State Prison wrote investigator Albert Melendez of

the internal affairs unit at the prison. [8T 22-1 to 5].

On February 13, 1991 Melendez received the letter. (8T 20-

10 to 22]. In it Ducret related that a prisoner known as Kareem

approached him with an escape plan. [8T 21-3 to 21]. Upon

receipt Melendez informed his supervisor, James West, and Debbie

Fonz who was also with the unit. He then arranged to interview

[8T 22-6 to 13; 53-18 to 54-8].

Melendez then conducted the interview with West present.

At this time Ducret admitted he wrote the letter and provided

more specific information. [8T 23-7 to 10 23-16 to 24-3]. That

information consisted of Kareem planning to use two nine
millimeter pistols and two .380 pistols to carry out the plan.

[8T 28-15 to 24]. At the time he was housed in the

administrative segregation unit, seven right. Kareem was the

phone runner and was housed on the same tier or floor. [8T 24-8

to 157 25-1 to 14; 26-19 te 18].
 

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After this interview ended Melendez took steps to verify
Ducret's information. [8T 24-4 to 7]. He also told him to get
Kareem's full name and any other pertinent information. [8T 24-
19 to 25]. Melendez then discovered the phone runner on seven
right was petitioner, [8T 30-4 to 10] and that he was serving 75
years with 36 years parole ineligibility. [8T 3112 to 18]. He
also received a second letter from Ducret dated the same day as
the interview. [8T 31-25 to 32-4]. Therein, Ducret related he
had provided the identity of the person planning this escape and
expressed concerns for his safety, wanted the information kept
confidential, and offered his full cooperation, as he had
earlier. [8T 32-10 to 14].

On February 16 or 19, 1991 Ducret was subject to a
polygraph administered by senior investigator/polygraphist D.
Davey, and concluded “her" examination revealed petitioner had
approached Ducret about an escape plan. [8T 150-24 to 151-8; Pa
1 to 2). (Since trial of this matter was had in April of 1994,
in excess of three years later, D. Davey may have been the
Debbie Fonz whose name differed because of a change in marital
status, that Melendez referred to in his trial testimony).

In early March, 1991 Melendez contacted the special
investigative unit of the Mercer county prosecutor's office

because his office was not equipped to handle a situation where
 

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weapons were used and lives could be in jeopardy. [8T 33=21 te
34-6; 35-1 to 3].

On March 5, 1991 after corroboration of Ducret's

 

information Melendez and West had a meeting with personnel from
the special investigative unit. Among them were Lieutenant Al
Heyessey and investigator John Fredericks. [8T 36-5 to 8]. At

the meeting Melendez shared the information they had obtained

 

thus far and requested assistance. [8T 36-9 to 16]. Heyessey
decided his office would assist in the investigation and
eventually they took it over. Ducret was provided a phone
sanbeE for Fredericks who was to be his contact person to
provide additional information to. [8T 36-1 to 37-3].
(Emphasis Added).

Subsequent to the takeover of the investigation by the
special unit Melendez remained available only to assist. [8T
37-25 to 38-2]. Although no promises were not made to Ducret by
Melendez for his cooperation he was moved to another prison when
the investigation concluded. [8T 38-1 to 39-9; 41-4 to 14].

On March 22, 1991 a phone call was made by Ducret to
detective Amalio Nieves of the New Jersey state police who posed
as a gun and explosives dealer from New York to arrange for him
to visit petitioner at the prison. [9T 38-8 to 15].

On March 25, 1991 Nieves visited petitioner. [9T 41-4 to

14]. During the visit petitioner pulled out a tiny piece of

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paper and a small pencil. On it, he wrote what he wanted. This

consisted of two machine guns with silencers, one nine

millimeter automatic, one .25 automatic and C4 explosives with

caps. [9T 47-13 to 49-8]. Nieves stated he would provide only

one machine gun, but petitioner told him extra funds were

available for a second. {9T 49-9 to 22]. Petitioner further

indicated he desired armor piercing bullets. [9T 50-15 to 25].

Petitioner then pulled out a second piece of paper on which he

wrote down a beeper number for him and his associates to contact

Nieves to arrange for delivery of the weapons. [9T 52-10 to

18]. He told the detective someone would be in contact in 60 to

90 days. [9T 55-16 to 20]. Nieves responded he wanted Ducret

taken care of and petitioner responded that this would occur

with neither clarifying the meaning of this terminology. [9T

25-21 te 56-6]:

On March 28, 1991 Nieves received a phone call from Ducret

and petitioner. [9T 58-1 to 25]. This was at a new number toa

mobile phone with a New York area code at which he could tape

the calls. [9T 60-7 to 14; 62-10 to 12).

On April 18, 1991 at approximately 12:10 p.m. Nieves got a

phone call from petitioner which he recorded. [9T 61-22 to 25;

62-10 to 20]. In it petitioner advised arrangements were in

progress for him to be paid for the weapons. During it there

was a discussion of a change from two machine guns to one. [9T

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68-1 to 10; 68-18 to 69-13]. They also discussed the amount due
and the place where petitioner's associates would pick them up.
[9T 70-6 to 19; 70-24 to 71-6]. Nieves told petitioner the
final arrangements for pickup would be between Nieves and the
person making the pickup. [9T 71-7 to 15].

On April 29, 1991 Nieves received another phone call from
petitioner which he also recorded. [9T 73-6 to 19; 74-7 to 17).
Petitioner again stated he was making arrangements for the funds
due. [9T 73-6 to 24; 75-23 to 76-3]. He also stated someone on
the outside would contact Nieves between April 29 and May 1.

[9ST 76-6 to 20].

On April 30, 1991 at 12:20 p.m. petitioner made his next
call to Nieves, which was also recorded. ([9T 76-21 to 25; 77-2
to 6]. Petitioner and another man later identified as Denard
pinekney were on the phone on this occasion. [9T 77-7 to 19].
They discussed a spot to meet and Nieves suggested the
Quakerbridge mall on Route 1 in New Jersey. [9T 77-20 to 78-6).
Petitioner wanted Nieves to meet Pinckney in Philadelphia, but
the detective refused. [9T 80-9 to 19; 81-20 to 17].

A second call was received by the detective from Pinckney,
which he recorded. [9T 82-1 to 24; 82-25 to 83-14]. At this
time the two planned to meet on May 2, 1991 so they could close

the weapons deal. [9T 85-15 to 86-2].

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On May 2, 1991 a team of investigators set up a
surveillance team to accompany Nieves to the mall in order to.
record conversations between the two as the detective was to
wear a body transmitter. [9T 86-3 to 17]. Nieves was provided
an inoperable nine-millimeter Beretta handgun and a block of
inert C4 explosives to display in the trunk of his car. [9T 87-
5 to 16]. He then proceeded to the mall but no one showed up.
Nieves then received a call from Pinckney, which he recorded.
[9T 90-24 to 25]. In the call, Pinckney related he could not
make it but would be there tomorrow. [9T 88-6 to 20; 89-3 to
7).

On May 3, 1991 the detective and the surveillance team
returned to the mall with the same objects for display in the
trunk of his car. {9T 94-6 to 24]. This time he met Pinckney.
[9T 95-20 to 96-1]. They then went inside the mall to eat and
have a conversation. {(9T 9-2 to 7]. At this time Pinckney, he
was aware the mount due for the guns and explosives was $ 700.
Nieves told him he had a Mach ten machine gun, a nine-millimeter
automatic, 4 -25 automatic, four pounds of C4 explosives,
detonation cord with blasting caps, and armor piercing bullets.
[9T 96-8 to 16]. They agreed to meet again on May 8, 1991 to
conclude the deal. {[9T 97-5 to 9].

Then Pinckney showed the detective his car in the parking

lot, which was a tan Buick with Pennsylvania plates. [9T 96-20

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to 97-4]. Nieves then went over to his car, opened the trunk
and displayed the guns and explosives to Pinckney who picked up
the Beretta and stated it was okay. [9T 97-10 to 21]. Nieves
informed Pinckney he wanted to deal with him only. He responded
that he would be alone for the May 8, 1991 meeting. [9T 101-7
to 102-9]. The conversations outside the mall as well as the
actions of the two were recorded audibly and visually, by the
other police present. [9T 97-22 to 99-6].

On May 8, 1991 Nieves took the machine gun, the Browning
nine-millimeter automatic, the Raven automatic, a bag with 95
bullets and a block of inert C4 to the mall, and was accompanied
by other officers. [{9T 108-12 to 21; 109-12 to 111-1}.

Pinckney was present, inspected what Nieves had, gave him $ 700
and left with the guns, ammunition and explosives. [9T 111-2 to
12]. The others accomplished video and audio recording of this.
[9T 111-22 to 25; 117-14 to 16].

The other officers followed Pinckney when he left. [11T
111-2 to 19]. He drove over a bridge into Pennsylvania and then
to a residence located in Philadelphia owned by his sister where
he was arrested. There, they found the guns and explosives on a
bookcase in the basement. [11T 117-2 to 118-1 127-5 to 128-8].
A guard searched petitioner at the prison, which yielded a piece

of paper with phone numbers in his shoe. [11T 77-9 to 78-22].

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(2) The Defense

Petitioner testified in his defense. He stated that he was

| incarcerated at the prison and had been assigned to the

| Management control unit for approximately a year. [12T 19-15 to

20-5]. He noticed Ducret the first time in January 1991 when

Ducret was brought to the administrative segregation unit that

he was in. [12T 47-10 to 48-6]. At the time petitioner was the

tier runner. [12T 21-22 to 22-9]. As that time he was

|
responsible for cleaning the tier, taking a list of the

prisoners for showers passing the phone, and informing guards of

any needs of the prisoners. [12T 21-11 to 21].

After Ducret arrived petitioner gave him the phone to use.

| [12T 50-17 to 20]. Petitioner had his first conversation with

him regarding weapons on January 31, 1991 when there was a

| general discussion about the topic on the tier. [12T 54-8 to

55-14]. Later in the day, Ducret asked petitioner if he wanted

to make some money from an arms deal. [12T 55-15 to 56-13]. At

first petitioner was uninterested. [12T 56-14 to 17]. However,

| later they started discussing how to purchase arms. [12T 70-6 to

| 15]. The two then made an agreement on a purchase. [12T 74-21

| to 75-11]. Petitioner did not take the conversation serious
| until he got a visit from Nieves. [12T 75-14 to 19].

Petitioner met with the undercover detective because Ducret

was. not allowed visitors. [12T 75-20 to 76-4]. Prior to the

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visit Ducret told petitioner to act like a big bad gangster with
connections to drug dealers and street guys. [12T 76-5 to 18].
Ducret further informed petitioner to request to buy two nine
millimeters, two Mach tens, two .380's, silencers,. bullets,
armor piercing bullets and plastic explosives. [12T 76-19 to
77-3]. He also told petitioner to take a piece of paper and
pencil to the meeting because Nieves would give him a phone
number if he agreed to the deal. [12T 77-21 to 78-6].

Nieves then visited petitioner. [12T 78-7 to 14]. At this
time, they discussed a location for the exchange. [12T 115-5 to
117-7]. Petitioner went on to explain it was impossible to
bring the guns into the prison and because of this
impossibility, he never had a discussion with Ducret regarding
it. [12T 86-1 to 9]. He further teati€zed there was no
discussion regarding an escape with Ducret or anyone else. [12T
70-2 to 5; 85-20 to 25; 1178 to 20]. The only agreement he made
with Ducret was to purchase arms for resale. [12T 117-21 to 2].

Carl Young and Jose Attaro testified Ducret had approached
them E6% involvement in a scheme to purchase weapons for resale.
{12T 139-18 to 140-7; 166-5 to 167-2]. Pinckney, who was
petitioner's brother, got involved in the deal after petitioner
requested him to get the arms and put them in his sister's

basement until a guy from Florida that Ducret sent, came to get

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[12T 96-1 to 20].

Nieves $ 700 for the guns and explosives.

On April 29,

attempted escape charge, Count Two,

Petitioner was aware his brother paid

[12T 96-21 to 25].

The Court's Charge and Verdict

1994 during his jury charge regarding the

Judge Schroth instructed the

jury as follows:

"The grand jurors of the state of New
Jersey of Mercer present that on or about
May 8, 1991 William Stovall did without
lawful authority to remove himself from
official detention at the New Jersey state
prison, and did employ deadly weapons or
other dangerous instruments in said attempt

to escape."

{l3sr 40-1 te 3, —18 te 25).

He went on to define attempting to escape by instructing that,

"The defendant is charged with the
crime of attempting to escape. By
definition, a person commits this crime if.
without lawful authority, the person removes
himself from official detention, or attempts

to.

"To obtain a conviction on this charge,
the state must prove each of the following
elements beyond a reasonable doubt. One,
the defendant was the subject of an official
detention, two, that the defendant attempted
to remove himself, three, that the defendant
acted without lawful authority, and four
that the defendant acted knowingly."

[13T 41-4 to 13].

The trial court went on as to degree of the offense in

instructing that:

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"If your verdict is guilty for escape,
you must deliberate further to determine the
degree of offense. Under our law, escape is
ordinarily a crime of the third degree.
However, it is elevated to a crime of the
second degree where there is proof beyond a
reasonable doubt that the actor attempted to
employ force, threat, a deadly weapon or
other dangerous instrumentality to effect
the escape.

"If you find that the state has proven
beyond a reasonable doubt that the defendant
committed the crime of escape, but also that
the defendant did so by the use of force,
threat, a deadly weapon or some other

dangerous instrumentality; then your verdict
should be guilty of the escape in the second

degree."
(13T 43-4 to 18].
(Emphasis Added).

After relating, this the court instructed the jury
regarding third degree escape as an included offense, noting
that, "on the other hand if the state fails to prove all of the
required elements of second degree escape" an alternative
available was to convict petitioner of third degree escape.
[13T 43-18 to 25].

Later that day, the jizy returned its verdict during which
the following colloquy ensued:

"The Court: Madam foreperson, on to
criminal attempt to commit escape in the

second degree, how do you find the
defendant, William Stovall?

Forelady: Guilty.

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The Court: Madam foreperson, as to count
four, criminal attempt to procure elements
of escape, (second degree) ?

Forelady: Guilty."
[13T 78-13 to 16, -19 to 22).

c. Receipt of Melendez Report

 

On May 13, 1991 the Mercer County prosecutor's office
received Melendez's report of his investigation from March 5 to
April 13, 1991, {Pa 1 to 2], which included D. Davey's
conclusion after performing the polygraph, [Pa 2]. These
constitute materials available to petitioner's counsel within
seven days of indictment pursuant to N.J. Ct. R. 3:13-

3(b) (1) (C), (which include all scientific experiments or tests

and results thereof), consistent with Brady v. Maryland, 373

 

U.S. 83 (1963).

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d. Post-Conviction Hearing, Motion To Correct Illegal Sentence

On September 14, 2012 a petition for post-conviction relief
was heard before the Hon. Thomas M. Brown, J.S.C. During the
hearing on the petition, petitioner requested counsel to make an
oral motion regarding merger of the counts. The court stated
the matter was not before the court. The judge stated other
issues would be considered out of time, but that petitioner
could file a motion regarding an illegal sentence. [15T 19-24
to 21-24).

On August 29, 2017 contrary to his foregoing statement,
Judge Brown went on to characterize petitioner's motion to

correct an illegal sentence as "moot." [Da 150 to 153].

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LEGAL ARGUMENT :

INTRODUCTION AND JURISDICTINAL STATEMENT
PETITIONER'S HABEAS PETITION IS TIMELY FILED
THUS THIS COURT HAS JURISDICTION TO MAKE A
DECISION ON THE SUBSTANTIVE MERITS.
Since the procedural history in state courts is rather
protracted and contains overlaps, where a motion to correct an
illegal sentence was filed prior to a denial of. review this is

provided for the court’s understanding of what transpired.

a. Conviction and Direct Appeal

 

On June 17, 1994 petitioner was sentenced in the Superior
Court of New Jersey, Law Division of Mercer County, after
conviction at a jury trial.

On December 2, 1996 the Superior Court of New Jersey,
Appellate Division affirmed the convictions on direct appeal, but
remanded for resentencing.

On March 19, 1997 the Supreme Court of New Jersey denied
certification as to the ruling of the Appellate Division, thus
concluding petitioner’s direct appellate remedies in state court.
State v. Stovall, 149 N.J. 35 (1997).

On June 17, 1997 petitioner’s time to timely, file a
petition for certiorari expired, thus concluding all direct
appellate redress available. 28 U.S.C. 2244 (d) (1) (A).

b. Post-Conviction Proceedings

 

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Oh November 17, 1997, (some 153 days later), petitioner
filed a petition for post-conviction relief with the Superior

Court of New Jersey, Law Division of Mercer County.

On September 4, 2012, (nearly 15 years after it was filed),

that court denied the petition.

On February 17, 2016 the Superior Court of New Jersey,
Appellate Division affirmed the denial of relief entered by the

Law Division.

On July 11, 2016 the Supreme Court of New Jersey denied
petitioner’s petition for certification regarding the Appellate

Division ruling.
c. Motion To Correct An Illegal Sentence

On June 27, 2016 filed a motion to correct an illegal
sentence in the Superior Court of New Jersey, Law Division of

Mercer County.
On August 29, 2017 the motion was denied.

On September 4, 2019 the Superior Court of New Jersey,

Appellate Division affirmed the denial of the motion.

On January 28, 2020 the Supreme Court of New Jersey denied
petitioner’s petition for certification relative to the Appellate.
Division’s affirmance of the motion to correct an illegal

sentence.

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Initially, 153 days were consumed prior to petitioner’s
filing of his petition for post-conviction relief. The sole
other period during which there was no impediment of state
exhaustion of issues, is the time from the denial of
certification until the filing of this petition. Since that
period is far less than 365 days, it renders this petition

timely.

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GROUND ONE

ADMISSION OF UNSTIPULATED POLYGRAPH EVIDENCE
VIOLATED PETITIONER'S SIXTH AMENDMENT RIGHT
TO FAIR TRIAL AND EFFECTIVE ASSISTANCE OF
TRIAL COUNSEL, AND FOURTEENTH AMENDMENT DUE
PROCESS WHEN TRIAL COUNSEL PERMITTED THIS TO
COME BEFORE THE JURY WITHOUT EITHER A
REQUEST FOR MISTRIAL OR CURATIVE

INSTRUCTIONS.

In presentation of their case at trial, the state was

forced to rely solely on Ducret as an actual witness who could

recount what petitioner purportedly related to him. Because of

this petitioner could have persuaded the jury this was all a

concoction of his manufactured to gain release from prison with

the expense of petitioner being convicted. Based on this it was

obvious from the outset conviction of petitioner hinged

virtually totally on Ducret's credibility.

With this set of attendant circumstances, it required no

genius to conclude any opportunity to enhance his believability

would be tantamount to foreclosing any possibility of a fair

trial at which acquittal remained a possibility. Aware of this,

Ducret referred to taking a polygraph in response to a question

from defense counsel. Counsel, recognized the harm but voiced

no objection. Neither, did he move to strike the answer,

request a mistrial or move for curative instructions. Yet

again, an investigator referred to the polygraph, and again

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counsel took no action whatsoever. Clearly, the reemphasizing
of this by a second witness helped seal petitioner's fate.

What is particularly egregious as to what transpired here
is that counsel was required to investigate all factual and

legal theories applicable thoroughly. Strickland v. Washington,

 

466 U.S. 668, 687 (1984). The action taken when this initially
occurred of transition into another area may have been
constitutionally tolerable. If anything what it appears to
reveal is that counsel was well aware exploration of this topic
was extremely detrimental to his client.

Not being prepared for the possibility of a polygraph test
at any criminal trial is troubling. In this one: (a) a test was
administered; (b) the results were in the hands of the
prosecutor five days after petitioner's brother was arrested and
three years prior to trial; and (c) this information was
discoverable within seven days of indictment. This provision is
in N.gd. Ct. R. 3:13-3(b) (1) (C), (which include all scientific
experiments or tests and results thereof), consistent with Brady

v. Maryland, infra. [Pa 1 to 2]. This information was

 

available to counsel within seven days of the December 16, 1991
indictment. [Da 1 to 12].

Petitioner submits the Supreme Court has addressed this
specific situation for the first time in United States v.

Scheffer, 523 U.S. 306 (1998). However, of the highest import

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is that the conclusion reached was the result of precisely the
same constitutional reasoning utilized in Rock v. Arkansas, 97
L.Ed.2d 37 (1987). In Rock the court held that when a state
murder defendant underwent hypnosis to refresh his memory of
germane events and his recounting of those events was barred, no
constitutional right of impeding his defense was had since the
evidence derived was scientifically unreliable.

In Scheffer, defendant sought introduction of polygraph
results at a court martial. Since M.R. Evid. 707 precluded all.
results of polygraphs as unreliable the court failed to find any
constitutional error as in Rock. This logic was also premised

on Crane v. Kentucky, 476 U.S. 683, 690 (1986) wherein it was

 

held courts have wide latitude at their discretion to exclude
extrinsic extraneous information which should be resorted to for
protection of the constitutional guarantees of fair trial and
due process. Scheffer, at 308.

Moreover, most recently in United States v. Gonzalez, 905
F.3d 165, 204 (3rd Cir. 2018) when a defendant sought to
introduce rebuttal evidence of polygraph results, the results
were again disallowed as unreliable.

This case law is demonstrative of several things. First,
Crane and Rock were decided in advance of this criminal incident
even occurring, and controlled. Absent proven scientific

reliability of any methodology, courts were not inclined to

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admit such evidence in behalf of either the defense or
prosecution. Second, upon an issue of first impression
regarding polygraph evidence the Supreme Court found no
violation in a rulé provision totally barring all polygraph
evidence in court martials. By inference, the court found in
Scheffer there was a presumption of correctness to rule
provisions governing admissibility where a case was tried that
did not fail to provide constitutional protections. (Emphasis
Added). Third, in Gonzalez the third circuit found no
scientific developments justifying admission.

Of the utmost import is in Rock, Scheffer and Gonzalez
these were all instances of defendants attempting to urge
admissibility. If anything, criminal defendants are in an
extremely more precarious position than the prosecution. An
unfavorable result caused by omission of relevant evidence may
be accompanied by a loss of liberty or even life. Accordingly,
questionable evidence, which may be disallowed if sought by the
prosecution, could conceivably be admitted in support of a
defense consistent with providing constitutionally required fair
trial or due process.

Bearing in mind the high court attaches a presumption of
correctness to law within the jurisdiction the matter is tried
in, Scheffer, infra, this court is constrained to examine the

applicable law within this jurisdiction. This first occurred in

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excess of 30 years prior to trial. State v. Arnwine, 67 N.J.
Super. 483 (App. Div. 1961). However, not investigating this
after it transpired once and permitting it to be reinforced to
the jury without investigating the status of the law is a
compromise of a serious constitutional magnitude. Especially
when it came about when a detective was questioned as to if he
attempted to corroborate Ducret's testimony and he responded by
inferred reference to use of a polygraph. Absent his testimony,
the initial resort to this area had the effect of inferring the
polygraph did corroborate his testimony, or the detective would
never have referred to it.

Petitioner submits the second reference to a polygraph by
the investigator coupled with Ducret's earlier testimony
regarding it would leave the jury hard pressed not to conclude
the polygraph had confirmed his veracity. This is a simple
conclusion of reasoning for Ducret who volunteered to testify
against petitioner and the detective were not there to aid
petitioner's cause. Both were there to provide information they
hoped would lead to his conviction.

In reality, what transpired in Arnwine resembles what
occurred here. There, the court had held direct evidence of
polygraph evidence was inadmissible prior to trial, just as if a
ruling had been requested as to this based on a thorough review

of discovery here by effectively prepared trial counsel it would

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have been exactly the same. For there a detective testified
defendant had been hooked up to a polygraph machine for 40
minutes but it was only operating for 3 1/2. He further
recounted when he asked defendant if he did this to Sandra,
defendant responded that if he said I did then I probably did.
Id., at 487.

On appeal counsel argued this conveyed to the jury the
potential results being unfavorable to the accused, at which
time the conviction was reversed. Id., at 499. In this
matter, Melendez initially testified he fooereboraked? Ducret's
Reet imony: He alluded to but two other persons in his office,
his supervisor, James West and the supervisor of internal
affairs, Debbie Fonz. Immediately after Melendez concluded the
prosecution called Ducret. In turn, his testimony consisted of
meeting with Melendez on February 12, 1991 and with a female
investigator within a week, on February 16 or 19, 1991 at which
time there was little discussion, "it was mainly just for the
polygraph."

In early March 1991, Melendez contacted the Mercer County
prosecutor's office leading to a meeting with them on March 5,
1991 when he became concerned there was a risk to others outside
the prison whose safety he could not protect; facts that Ducret
alone had provided the basis for. This was accomplished by him

maintaining petitioner desired: machine guns with silencers,

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armor piercing ammunition, and plastic explosives to escape from
prison. It follows the inference, just as in Arnwine, was the
result of the polygraph was favorable to the State and directly
contributed to petitioner's conviction.

Moreover, there, and notably contrary to here, defendant
himself actually admitted his guilt resultant in much more
evidence to support the conviction obtained there.

Within New Jersey even prior to Arnwine the court had held
in State v. Emery, 27 N.J. 348, 356 (1961) that, "polygraph
examinations are not infallible tests to determine truth or
deception."

In New Jersey the State Supreme Court was again confronted

with the issue in State v. Mc Davitt, 62 N.J. 36 (1972). On

 

that occasion, it was held admission of such results would only
be permitted with a stipulation prior to the admission of such
testing. The matter again came before the courts in State v.
Clark, 128 N.J. Super. 120 (1974). There, an inmate witness to
a prison hospital killing testified during cross-examination he
decided to tell the truth after he was informed the results of a
polygraph revealed he was lying. His testimony at trial was
that he did see the killing by defendant contrary to what he
maintained was his initial version in which he did not. On

appeal, the murder conviction was reversed because of the

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unconstitutional bolstering of the prosecution witness’
credibility.
The two addresses to this within this jurisdiction prior to

petitioner's trial were State v. Hollander, 201 N.J. Super. 453

 

(App. Div. 1985) and State v. Capone, 215 N.J. Super. 497 (App.
Div. 1987). In the first, yet again the court held polygraph
results are inadmissible unless there is a stipulation for
admissibility prior to administration of it. Within the second
the court held that because there existed a polygraph
administered which was the subject of a stipulation it would be
non-admissible at trial, there was absolutely no reason for that
stipulation to be contradicted regardless of the result or what
had transpired at trial. (Emphasis Added).

Since that time, the New Jersey courts have again addressed
this matter. Interestingly in ruling on petitioner's appeal of
the denial of Bost <convilstion relief in 2016 the state court
noted within the state polygraph results are generally
inadmissible and cited State v. Domicz, 188 N.J. 285 (2006).

[Da 51].

A review of the facts present therein reveals defendant was
indicted for drug possession and that police seized such at his
residence. JId., at 289-291. At trial, the court refused to

permit unstipulated polygraph evidence for the defense at a

hearing of a motion to suppress. Ibid, at 292. On appeal, the

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Appellate Division reversed holding defendant’s rights were
violated by failure to admit the evidence. Domicz, at 293. The
holding consisted of the rationale polygraph evidence should be
admissible when credibility is an issue and the arbiter of fact
is non-jury. Id., at 295.

The State Supreme Court considered the matter and noted
defendant did not offer proof polygraph techniques had
progressed since Mc Davitt to ensure enhanced scientific
reliability. Ibid, at 310-11. Accordingly, the ruling of the
Appellate Division was reversed and the court went on to note a
majority of the states prohibit polygraph evidence as unreliable
specifically noting that New Mexico appeared to be the sole
state, which permitted admission absent a prior stipulation.
Domicz, at 313. In so ruling the court held it was not inclined
to extend polygraph admissibility to hearings presided over by
judges who are sufficiently equipped to make credibility
determinations absent polygraph evidence without prior
stipulation. Id., at 313-314.

Finally, the court concluded that the proposed solution
permitted by the Appellate Division was not workable in non-jury
situations. This was because if a defendant sought admission of
testimony by a polygraphist the court could order him to be
subjected to a second polygraph by a different polygraphist with

the court having to choose between the testimony of the two.

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This logic was premised on insanity defenses where the court was
forced into such a procedure. Ibid, at 313-314.

The New Jersey courts went on to confront the issue again.
State V. A.O., 198 N.J. 69 (2009); State v. Mervilus, 418 N.J.
Super. 138 (App. Div. 2011); J.B. V. New Jersey State Parole
Board, 229 N.J. 21 (2017). In A.O. the court clarified that 28
states bar all polygraph evidence in any situations, 18 consider
admissibility only upon prior stipulation of the parties, and
that only New Mexico permits absent a prior stipulation. Id.,
at 84. A.O. also made note admissibility occurs only when the

stipulation is clear and unequivocal and that Mc Davitt offered

no support for situations where a stipulation was made absent

counsel. Ibid, at 86-87. Because of this, the court barred

uncounseled stipulated polygraph admissibility agreements.
A.O., at 90. Of the highest import is that at the time the
court noted recent scientific developments continued to cast
doubt upon reliability

In Mervilus, the court reversed a conviction when the
polygraphist testified as to guilt and innocence even when there
was a prior stipulation regarding admissibility. There, the
polygraphist testified that in 60 to 70 % of the tests the test
confirms the accused is telling the truth and is innocent and

law enforcement usually does not go forward with the charges and

that in the remaining it usually indicates guilt like in the

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case in question. This impermissibly tainted the jury and the
court was constrained to reverse. Id., at 142.

Finally, in J.B., the court permitted use of polygraph
results only as a risk management tool to manage released sex
offenders. This was permitted only because of the employment of
special polygraphists trained as to the unique use for sex
offenders and their methods of deception. Despite this, the >
court was most careful to note the result would not be
admissible in court proceedings as proof of a violation of
release conditions resultant in re-incarceration. Id., at 32.

Application of this body of case law to petitioner's matter

.Clearly reveals he is undoubtedly entitled to federal habeas

relief because of a compromise of his constitutional rights.

The violations of the principles in Crane and Rock which
should have preserved petitioner's constitutional right to a
fair trial and due process at the time of trial were clear.
Counsel's failure to be prepared by a thorough investigation of
legal status of the admission of such evidence, what actions to
take if it arose, and that petitioner was entitled to a mistrial
or curative instructions are clear. They make out a clear case
of a violation of the right to effective assistance of trial
counsel by Strickland requiring habeas relief.

In sum, Crane and Rock controlled regarding admission of

scientific evidence at the time of petitioner's trial. Trial

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counsel’s inaction when this evidence came in was
unconscionable. It clearly represents a failure to conduct
adequate legal investigations necessary pursuant to Strickland.
Since the matter came down totally to credibility the jury
was confronted with whether to believe petitioner and his two
witnesses or Ducret. To conclude Ducret was more reliable based
on enhancement of his credibility with reference to a polygraph
is virtually inescapable. Accordingly, habeas relief is fully
warranted, puesace of trial counsel’s failures to act as

detailed within this Ground.

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GROUND TWO
ADMISSION OF POLYGRAPH EVIDENCE VIOLATED
PETITIONER'S SIXTH AMENDMENT RIGHT TO FAIR
TRIAL AND EFFECTIVE ASSISTANCE OF APPELLATE
COUNSEL, AND FOURTEENTH AMENDMENT DUE
PROCESS RIGHTS WHEN APPELLATE COUNSEL
PERMITTED THIS EVIDENCE BEFORE THE JURY
WITHOUT EITHER A REQUEST FOR MISTRIAL OR
CURATIVE INSTRUCTIONS AT TRIAL, NOT BE
CHALLENGED ON AN APPEAL AS OF RIGHT.

Petitioner submits the failure of appellate counsel to
raise the admission of the unstipulated polygraph evidence in
evidence before the jury absent curative instructions or a
motion for mistrial prohibiting the evidence, was due to
ineffective assistance of trial counsel, rendered appellate
counsel ineffective. Moreover, this constitutes a clear
constitutional violation of the Sixth and Fourteenth Amendment
rights of effective counsel on an appeal as of right. Douglas
v. California, 372 U.S. 353, 355-357 (1963); Evitts v. Lucey,
469 U.S. 387, 396 (1985).

Petitioner submits this is so since N.J. Ct. R. 2:3-2 makes

it clear in imperative terms that, "...in any criminal action
any defendant ... may appeal... .". (Emphasis Added).

In the interests of brevity petitioner will merely rely on
the urgings made within Ground One to show that it was clear if
appellate counsel had merely reviewed the trial transcripts and
discovery available to counsel, it was obvious he was grossly

unprepared. The report of Melendez referring to a polygraph was

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available to trial counsel in December 1991 [Pa 2], far in
advance of petitioner's 1994 jury trial. [Da 13 to 14]. Not to
familiarize himself with New Jersey precedent, and Crane and
Rock regarding questionable scientific Sechenavds was
inexcusable.

Additionally, failing to move for a mistrial or requesting
curative instructions, if denied, directly contributed to
petitioner’s convictions. This is especially so since the
entire case hinged on credibility determinations. Petitioner
and two other prisoners testified Ducret approached them for
participation in an arms resale deal for profit, absent any
conspiracy to escape. When his credibility was enhanced by both
Melendez and himself referring to the polygraph it was
inevitable petitioner would be convicted as to the escape
charges as opposed to only attempting to profiteer off the
weapons.

Failing to present this on direct appeal was a great
disservice and served to violate petitioner's constitutional
rights requiring habeas relief for violation of the Supreme
Court law noted herein, as to admissibility of scientific

evidence.

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GROUND THREE
ALTERNATIVELY, THE SENTENCE PETITIONER IS
CONFINED PURSUANT TO VIOLATES DOUBLE
JEOPARDY AND DUE PROCESS CONTRARY TO THE
FIFTH AND FOURTEENTH AMENDMENTS.

a. The Motion Was Timely Filed, and The State Courts Denied Due
Process By Failing To Rule On The Merits Of It.

Within his ruling defendant's motion to correct an illegal
sentence pursuant to N.J. Ct. R. 3:21-10(b) (5) Judge Brown made
no reference to this rule which permits the filing of such
motion, "at any time." Instead, he held the motion was moot and
went on to rule in a letter opinion addressed to petitioner his
conclusion was premised on the facts that, "you have already
exhausted your appeal remedies and your post-conviction
remedies."

Petitioner takes no exception to either of these statements
being true. However, as to the logic that these occurrences
deprived Judge Brown of jurisdiction, and the exhaustion of
these processes in any way rendered his motion moot, he does.

A review of what transpired prior to this ruling reveals
the matter was before this court on two prior occasions. First,
on direct appeal in 1996, and again on an unsuccessful appeal of
a petition for post-conviction relief in 2016.

As to pursuit of direct appeal, the New Jersey appellate
courts were under no duty to review issues not before them. The

appeal was limited yet further to conduct a limited review of

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arguments presented if not objected to below unless such
amounted to constitutional error. N.J. Ct. R. 2:10-2; State v.
Corby, 28 N.J. 106 (1958); State v. Macon, 57 N.J. 325 (1971);

Chapman v. California, 386 U.S. 18 (1967).

 

At the outset, the governing rule clearly does not provide
the courts are to conduct an exhaustive review of every appeal
brought for every type of conceivable infirmity in both civil
and criminal matters. As a practical matter, this is an
impossibility with judicial resources what they are. To comb
over the entirety of the record would permit matters to remain
pending for years absent a ruling. If anything a careful
reading of this rule demonstrates examination of allegations of
error actually presented is, constrained yet further to ones
objected to below. The clear intent here was that if trial
counsel felt an error was not present, or of little
significance, appellate counsel should be precluded from
inundating an appellate tribunal with a multitude of alleged
errors after application of hindsight.

With these principles in mind, it is of note the two panels
which ruled on petitioner's direct appeal and post-conviction
appeal, never had this issue before them. On the first occasion
in 1996 that panel was presented with the legality of the ten
year sentence on count four during which petitioner was

ineligible for parole for the entirety of it, and reversed in

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holding only that the period of parole ineligibility was illegal
after the state conceded it was. (Emphasis Added). The
argument regarding merger or concurrency was noticeably absent.

In 2016, on appeal of the denial of a petition for post-
conviction relief, that panel was confronted only with the
allegation that evidence of a witness being subjected to a
polygraph examination should not have come before defendant's
jury. Moreover, it was Judge Brown himself who constituted the
reason why this issue was not before the court at that time.
This came about in 2012 when he ruled he would not consider
illegality of sentence at that time. For Judge Brown to fail to
rule on this issue when the post-conviction petition was
pending, and to later classify the issue as moot predicated on
that petition being earlier disposed of places petitioner ina
predicament whereby he was never legally permitted to present
the argument the sentence is illegal.

This type of legal rationale is totally illogical. Yet
further, this is at odds with the content of N.J. Ct. R. 1:1-2
that all court rules,

",.. shall be construed to secure a just
determination, simplicity in procedure,
fairness in administration and elimination

of unjustifiable expense and delay."

(Emphasis Added).

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Embodying the same logic the New Jersey Supreme Court held in
Ragusa v. Lau, 119 N.J. 276, 283-284 (1990) that relative to
court rules they should function for,

"Reasonable uniformity in the

expeditious and even administration of
justice."

: (Emphasis Added) .

Respectfully, it is urged that Judge Brown's statement of
not entertaining the illegality of sentence in 2012 only to
conclude five years later opining that issue was moot markedly
fails to further the intent of court rules or the statement in
Ragusa.

It is fundamental that a motion to correct an illegal
sentence may be filed at any time pursuant to N.J. Ct. R. 3:21-
10(b) (5). The state's highest court authored a procedural

ruling in State v. Romero, 191 N.J. 59 (2007) which reiterated

the principles of State v. Paladino, 203 N.J. Super. 537 (App.

 

Div. 1985). There, it was ruled failure to merge convictions
results in an illegal sentence for which there is no procedural
time limit for rectifying. Id., at 80.

This continues to be the state of the law in the state.
State v. E.W., 413 N.J. Super. 70, 77-78 (App. Div. 2010); State
v. Acevedo, 205 N.J. 40, 47 n. 4 (2011).

Thus, petitioner is rightfully before this court now after

exhaustion of state remedies. Timeliness fails to divest this

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court of requisite jurisdiction. It follows that as to the
substantive merits of the issue, merger must occur as violative
of the Fifth Amendment’s prohibition on double jeopardy and the
controlling law of this state and the United States Supreme
Court. Accordingly, this court must rule on it.

b. Merger of Count Four Into Count Two Should Have Been Had
Since The Court Failed To Instruct To Not Rely On The Evidence
Presented To Prove Count Two As Proof Of Count Four.

As recounted within the Statement of Facts, the court's
charge is absent of an explicit charge not to utilize elements
relied on to prove count four when deliberating as to
petitioner's guilt of count two. More alarming is that there
are several precise instructions instructing the jury to rely on
the same elements over again. Most important is that this
implicates the Fifth Amendment's prohibitory clause barring

multiple punishments for the same crime. Blockburger v. United

States, 248 U.S. 299 (1932); Whalen v. United States, 445 U.S.

 

684 (1980); Rutledge v. United States, 517 U.S. 292 (1996);

 

State v. Best, 70 N.J. 56 (1976); State v. Dillihay, 127 N.J. 42

 

(1992).

In Blockburger at 304, the court held multiple punishments
could not be imposed for two crimes unless one required proof of
a fact the other did not. Accordingly, a conviction for rape
was required’ to merge into a conviction for felony murder,

commission of a homicide during a rape. Whalen, at 693-694.

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Similarly, it was held defendant's conviction for
distribution of a controlled dangerous substance must merge into
his conviction for operation of a continuing criminal
enterprise, and thus the two consecutive life sentences must run
concurrent. Rutledge, at 295-300.

Within this jurisdiction, legislation rendered this
prohibition in statutory codification enacted prior to the
crimes involved here. N.J.S. 2C:1-8a. However, the state's
highest court was constrained to employ the same reasoning the
land's highest tribunal had. The conclusion was cumulative

punishments for robbery while armed and carrying the weapon used

 

 

 

 

 

 

 

 

 

 

 

 

 

failed to avoid the Blockburger test of requirement of proof of
an element the other offense does not, to sustain multiple
punishment. This was prior to enactment of the pertinent
statute. The logic there was defendant had to carry the weapon
to the scene of the robbery he was armed during, and this was
not statutorily, but constitutionally, ndgiiized: Best, at 69.

Premised on this, distribution of drugs and distribution of

 

 

 

 

drugs in proximity to a school was also held to be unable to
avoid Blockburger unconstitutionality. Dillihay, at 47. The
court went on to opine Blockburger representative of the current
state of the law in State v. Brown, 138 N.J. 481, 560-561

(1994).

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This court must bear in mind Blockburger, Whalen, Best and

 

Dillihay were all decided prior to petitioner's trial, and of
the highest import, the statutory bar of this action took effect
in excess of a decade prior to the crimes involved here were
alleged to have occurred. So too, Brown and Rutledge were
decided prior to conclusion of defendant's direct appeal when
the State Supreme Court denied a petition for certification.
State v. Stovall, 149 N.J., infra. Further noteworthy is the
ruling reached in Best was based on constitutional necessity
since it predated the current Code of Criminal Justice.

As to the particulars of this matter, several occurrences
in Whalen, Best and Dillihay remain highly pertinent. So too,

the rulings in Harris v. Oklahoma, 433 U.S. 682 (1977); Simpson

 

v. United States, 435 U.S. 6 (1979); Illinois v. Vitale, 447

 

 

U.S. 410 (1980); Grady v. Corbin, 109 L.Ed.2d 548 (1990). This
bars: (1) a second prosecution for the same offense after
acquittal; (2) a second prosecution for the same offense after
conviction; and (3) multiple punishments for the same offense.
Vitale, at 415. The third is at issue here based on a failure
not to utilize the same conduct over to convict of the two
offenses in question.,

The New Jersey appellate court was aware of this and

resorted to a similar reasoning extracted from North Carolina v.

 

Pearce, 395 U.S. 711, 717 (1969) in a substantive address on

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petitioner's appeal of a motion to correct an illegal sentence.

[Attachment 4.2, 4.10].

 

The question before the court in Vitale was if the traffic
violation of failing to reduce speed was the same offense as
manslaughter, as opposed to here where questioning multiple
punishment for the same conduct, is involved.

There the court ruled because a failure to reduce speed was
not necessary to prove manslaughter multiple punishments were
not barred. Id., at 418-419. (Emphasis Added). Precisely
because a manslaughter conviction could be premised on all sorts
of conduct enumerated within the Illinois manslaughter statute
not limited to a failure to reduce the speed of a motor vehicle,
the court found no bar to multiple punishments. The matter at
hand is easily distinguished from Vitale. If anything, it is
totally opposite.: Here, the greater offense of the higher
degree of conviction could not be had absent weapons possession
or an attempt at it. Jt constitutes the sole method presented
to accomplish the conduct required for conviction of the greater
crime. Although a threat would suffice, neither did the state
present, nor the judge charge the jury under that theory.

Yet further, the trial judge's charge failing to instruct
not to rely on the same conduct is had because the conviction
could not occur absent the other offense. Petitioner submits

that even absent it, multiple punishments were barred pursuant

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to Vitale. The only thing accomplished by the charge was the
rendering of it in the manner it was given being necessitated.
In sum, there was no method possible to have a conviction of the
greater offense since the lesser one constituted a necessary
element of it and the court was required to provide it in this
fashion.

The sole method for multiple consecutive sentences to be
imposed on these two counts in question would be if the court
instructed it could find defendant possessed the weapons for
another purpose other than escape as enumerated in the
indictment with evidence of such put before the jury. Since
neither of these occurred, (or exists pursuant to the jury
finding as it disbelieved petitioner's testimony and that of his
witnesses), the imposition of two consecutive sentences on these
counts is unconstitutional.

Within this jurisdiction, the State Supreme Court reached
the same conclusion in Best. There, the court was asked to
determine if possession of a dangerous weapon merged with
robbery while armed with the same dangerous weapon. Id., at 58.
The court importantly noted there was no evidence presented
defendant carried the weapon for any other purpose other than to
transport it to the scene of the robbery. Ibid. at 67. Of
course, there, as here, the trial court out of necessity, could

not have instructed the jury not to rely on the same evidence to

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convict defendant of both the armed robbery and dangerous
weapons counts. (Emphasis Added). As there, the same dangerous
weapon was required to be transported to the robbery to render
it one which was accomplished "while armed" elevating the
punishment. While here, the weapons involved were required to
be either possessed or at the least, attempted to be possessed,
to elevate the crime of attempted escape to a second-degree
crime. The court also noted there that the outcome might have
differed had defendant possessed the same weapon "an appreciable
time after the robbery." Best, at 71.

Moreover, here there was no allegation in the indictment,
just as in Best, that petitioner attempted or possessed the
weapons in question, for any other purpose. Therefore, the
necessity of conforming to the contents of the indictment
required the court to charge as it did, and not indicate it
should not rely on the same facts. For if not, this would
unconstitutionally broaden the conduct which petitioner was
liable for. These reasons compel merger of the counts.

Within Best, the court drew a most important distinction
beyond mere merger of counts. As to merger, requirement as to a
much higher standard for a defendant to prevail while arguing
merger of counts exists as courts often defer to legislative
discretion in intent by authorizing separate punishments in

different statutes, the same fails to hold true for merger of

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sentences. (Emphasis Added). Thus, petitioner maintains that
because of the specifics involved, even absent his proof of a
legislative intent to impose separate convictions and sentences
for counts, those separate convictions and sentences, if legal,
must merge in the form of concurrent sentences as to counts four
and six. This is because entry of separate convictions would
constitute double punishment for the same conduct. Best, at 70.

That logic is premised on a Blockburger interpretation had
by our state's highest court in State v. Davis, 68 N.J. 69
(1975). There, the court noted the legislature could not,
despite its intent, merely attach different labels to the same
type of conduct and impose multiple mitighments as this would
exceed legislative authority and violate double jeopardy
prohibitions. fId., at 80.

Petitioner submits that this is present in the instant
matter. It results in the judiciary being requested to find a
legislative intent to punish twice for acts because they are
merely enumerated in different statutes. This is what occurred

in Albrecht v. United States, 273 U.S. 1 (1927), relied on

 

below. There, defendant received multiple punishments for
possession of illegal alcohol and sale of it. The reasoning
there was defendant could have sold the alcohol absent ever
possessing it, and that there was legislative intent to impose

separate punishments for the conduct. JId., 11-12. Viewed in a

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vacuum this may appear to provide support for application to
defendant's matter. However, some notable distinctions
differentiate the matters.

Primarily, Blockburger was decided initially while Whalen,
Davis and Best had yet to be decided. It pre-dated N.J. Const.
(1947), art. I, para.11 that constitutes the state prohibition
of double jeopardy as the equivalent of the Fifth Amendment
prohibition, by two decades. Dillihay, at 44. With these
implementations, it became apparent that there could conceivably
be instances where legislative intent to punish separate steps
of a crime could be constitutional. Nonetheless, the mere
labeling of the conduct as different crimes alluded to in Davis
could not suffice to stave off a double jeopardy challenge. Of
the utmost import is that this certainly does not validate
consecutive sentences pursuant to Davis, Best and Whalen under
double jeopardy analysis.

In Whalen, the court was careful to note that petitioner's
consecutive sentence for rape must be vacated because for
purposes of punishment the offense merged with felony murder.
(Emphasis Added). Even though they rightfully fail as the mere
labeling of the same conduct as constituting different offenses
barred in State v. Davis, infra, as to double punishments, if

the legislature intended them, none of this was looked at. It

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constitutes a violation of the double jeopardy clause of the
Fifth Amendment and is barred by the decisional law noted.

The logic is plain the court held a prosecution for robbery
while armed was barred by the double jeopardy clause. This was
because defendant had already been tried for felony murder with
robbery while armed as the underlying felony, and a consecutive
sentence for the robbery could not be imposed since the robbery
elements were all required to be proven to sustain the felony
murder conviction. Harris. The court also reached a differing

conclusion than the result in Vitale in Grady, infra, when it

 

ruled a later prosecution for homicide and assault would, out of
necessity, prove conduct previously prosecuted as a traffic
offense. Most succinctly put legislative intent cannot override
the Fifth Amendment double jeopardy prohibition. Thus,
petitioner must prevail out of constitutional necessity.

That logic would permit the legislature to say double
jeopardy be damned we intend multiple punishments merely on
whim. Again, this offends Davis by employing the "mere
labeling" of the same conduct as elements of differing offenses,
which is what occurred here with consecutive sentences for
escape implements and second-degree escape. This is because
escape becomes a crime of the second degree only when possession
or attempted possession of escape implements enumerated as

firearms and explosive devices is proven as an element.

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In Best where there was no evidence defendant possessed the
weapon an appreciable time after the armed robbery, Id., at 71.
Here, there was a far more horrendous double jeopardy violation.
Viewed in the light most favorable to the state, petitioner's
brother took possession of disabled firearms and ammunition from
an undercover agent after he provided him money while defendant
was in a prison several miles away. He was arrested shortly
thereafter and nothing indicated he had another purpose, or more
importantly, that petitioner's constructive possession of the
material came with an intent beyond his escape from prison.
Thus, even had his brother intended to sell the material for
profit or to assault, kill or rob, petitioner was not
responsible for these actions. These facts were not alleged in
the indictment, no such evidence was presented, and the court
provided no such charge.

Petitioner here is clearly more aggrieved than the’
defendant in Davis was. Hypothetically, official misconduct
could be proven by various different acts, some of which may of
themselves not constitute criminal acts. N.J.S. 2C:30-2a
prohibits commission of an act knowing that it is unauthorized
or commits it in an unauthorized manner. N.J.S. 2C:30-2b
prohibits refraining from performing a duty imposed or one
clearly inherent. Being intoxicated, ignoring alarms and

failing to carry out superior's orders could certainly lead to

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proof of official misconduct. These do not constitute criminal
acts. Here, the elevation of escape required proof of the
escape implements. The same facts as proof of elements of two
offenses bars it. However, most importantly is that it was
impossible to elevate the escape to second degree absent the
implements relied on by the state since the theory of a threat
was not pursued or even existent. It follows consecutive
sentences for precisely the same conduct is barred. It
undoubtedly constitutes the mere labeling of the conduct as two
offenses barring consecutive sentences.

c. It Was Illegal For The Court To Sentence On The Second
Degree Charges When The Jury Disregarded The Court's Instruction
To Not Find Petitioner Guilty Of Both Second and Third Degree

Offenses Of the Same Crime.

(1) Ambiguity in Verdicts

 

Implicit in the court's charge previously recounted was
that conviction of both second and third degree escape should
not occur. It will be demonstrated when such does occur,
defendant is entitled to be afforded the benefit of a doubt
under the principles of ambiguity in verdicts and lenity.

An error in grading is not remediable as here when the jury
convicted defendant of both a second degree and third degree
grade of an offense contrary to the trial judge's instruction

not to do so. [13T 43-18 to 25]. More important is that

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because of the disregard of instructions the verdict sheets were
rendered useless for resolution of either merger or ambiguity.

So too, the verdict sheet here was constructed so that it
asks for a singular verdict on two separate crimes having
disparate elements.

Further reflection of the confusion on this count is the
jury question submitted during deliberations consisting of could
a thought constitute an attempt, and a request "as to the
criteria in determining each individual count" at 3:15 Sule
[13T 74-23 to 24, 13T 75-25 to 76-10]. The court instructed the
jurors to clarify exactly what they wanted. They failed to, and
returned the verdict convicting petitioner of all counts, some.
28 minutes later inclusive of the time consumed for the colloquy
with the court. [13T 77-1 to 82-7].

Ambiguous verdicts have been the subject of address by the

courts. Tateo v. United States, 377 U.S. 463 (1964); Rewis v.

 

United States, 401 U.S. 808 (1971); United States v. Tucker, 404

 

U.S. 473 (1972); Blakely v. United States, 159 L.Ed.2d 403

 

(2005); Yates v. United States, 191 L.Ed.2d 64, 82 (2015).

 

Due process requires a defendant not be sentenced because
of misinformation of a constitutional magnitude. Tucker, at 47-
49. So too, defendant cannot be prosecuted for an aggravated
offense. This is barred by the double jeopardy clause unless

each offense has at least one element the other does not, as

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established in Rewis and Blakely. This remains a principle of

 

current law. Yates, at 82.
Petitioner further urges two other decisions are germane to

disposition of this issue. Naples v. United States, 344 F.2d

 

508 (D.C. Cir. 1964); United States ex. rel. Flowers v. Illinois

 

Department of Corrections, 767 F.Supp. 880 (N.D. Il. 1994). The

 

court held that when a jury is instructed as to the elements of
first-degree intentional and second-degree non-intentional
murder the instruction not to convict of both is necessary.
Should conviction of both occur, the verdict is illegal, and
must be set aside. Naples, at 516-517.

In another matter on point involving a state homicide
conviction and embodying the same logic, the jury convicted
defendant of both murder and voluntary manslaughter. On federal
habeas, the court held the sentencing court could only sentence
on the lesser offense. See Flowers. In compliance with this,
the trial court could only have entered a conviction for third-
degree escape. More importantly, in conformance with Supreme
Court law of Naples the court should have set aside the escape
conviction in total and sentenced only on the second-degree
escape implements and third-degree escape conviction.

Here, there was no explicit instruction not to re-use the
same element, and no attempt at molding the verdict with jury

assent. Merger was required. The proceedings and finding were

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unconstitutional based on the Fifth Amendment and prevailing
precedent.

(2) The Rule of Lenity

The principle of lenity is probably best displayed in
Tucker, where it was established a defendant could not be
sentenced based on ambiguous misinformation of a constitutional
magnitude. Id., at 447-449. It follows lack of knowledge of a
knowable standard of conduct violates a fundamental principle of
lenity. Collins v. Kentucky, 234 U.S. 634, 638 (1913).

Resolution by use of lenity construed in favor of criminal
defendants was had in Lockhart v. United States, 194 L.Ed.2d 48
(2016); and Voisine v. United States, 195 L.Ed.2d 736 (2016).
The court held it was proper for invocation of lenity to occur
at the end of the process of resolution, construing in favor of
defendant consisting of what was expressed which failed to
reveal a satisfactory construction. Lockhart, at 59. The
doctrine is similarly applicable when a court is confronted with
two equally plausible meanings, and/or when what is at hand is
susceptible of two interpretations with neither favored.
Voisine.

Here, the court was confronted with a verdict convicting
petitioner of second and third degree escape. Nothing indicated
anything favoring the conviction should be for the higher

degree. Contrary to lenity principles, the court afforded the

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prosecution the benefit of any doubt and resolved this in their
favor by entering a conviction for the higher degree of the
offense in contradiction to the abundance of constitutional law
this is illegal. As such, this finding cannot stand consistent
with affording petitioner the constitutional entitlements, he
must be provided.

It is urged this is particularly so when the attendant
circumstances are considered. Petitioner's testimony implicated
the fact the acts that occurred could have been for a different
purpose, albeit an unlawful one. Since neither the indictment,
nor the verdict specified a particular unlawful purpose of what
the weaponry involved was to be used for, the conclusion of the
purpose being escape is unproven, even in the verdict rendered.
This remains so until now especially in view of the jury's
question of whether thought could constitute an attempt.

Yet still, even according to the state's informant, Ducret,
petitioner had several purported alternative escape plans. But
one consisted of blowing a hole in the wall of the prison
hospital. Nothing from Ducret, the informant, or anything else
was indicative these alternative plans were to be violent ones.
Inferring a jury desire to Souivlier of the higher grade with the
ambiguous verdict is preposterous. Permitting it to stand in
view of the rule of lenity is more so. Given petitioner was

afforded no leniency in interpretation of the verdict it is

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tantamount to affording lenity to the prosecution, a benefit to
which they are never entitled.

Affording a benefit to inure to the state is repugnant to
the rule of lenity. The verdict cannot stand consistent with
substantive and procedural due process being provided. Nor can
it be condoned with providing of a trial, which was
fundamentally fair.

It is submitted the unanswered jury question made the
logical conclusion the mere thought of escape was a finding
petitioner contemplated escape, but they saw insufficient
connection to the weapons to conclude they were to be used in
it. Hence, the conviction for third degree escape.

Because of this, the trial court should have disregarded
the second-degree escape conviction under principles of lenity
compelled by constitutional due process. At most, petitioner
would have been subjected to conviction of two sentences; one
third degree for attempted escape, and one second-degree for
escape implements possession. He could have received one
extended term for one conviction, twenty years, and five years
consecutive for the other, resultant in a total sentence of
twenty-five years.

Of particular note here is that petitioner has completed
the parole ineligibility term of ten years. The sole question

presented relative to sentencing is whether petitioner's maximum

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aggregated New Jersey sentences total either 105, 100 or 95
years. Specific to here is whether the convictions contested
result in sentences of either 20, 25 or 30 years.

Alternative to that he could have been convicted of second-
degree escape with the weapons, (implements), count merged since
the sole use was for the escape. This would have resulted in at
most an extended term of twenty years with ten of parole
ineligibility. Instead, the trial judge opted for the worst
alternative for petitioner: a finding of second-degree escape,
(requiring use of weapons), and a separate finding of possession

of the same weapons for another purpose, evidenced by a failure

 

to merge the counts. (Emphasis Added). This requires the
reasoning, petitioner intended to use some of the weapons and
explosives during the escape, and save others for resale for
profit. No testimony from either the state or defense supported
this. It is very absurd. Yet, this constitutes the logic for
the failure to merge the counts and subject petitioner to the
longest sentence concocted. The unconstitutionality is readily

apparent and cannot stand.

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CONCLUSION

For all of the aforementioned reasons the court should
grant the writ for the reasoning contained in Grounds One and/
or Two. Alternatively, for the reasons provided within Ground
Three the court should rule petitioner is in custody in
violation of his double jeopardy and due process rights and
conditionally grant the writ taking effect absent a remedial
resentencing.

Respectfully Submitted,

DATED: 9, bauank G 2620
oC William Stovall
Petitioner, Pro Se

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STATE OF NEW JERSEY, : SUPERIOR COURT OF NEWSERSBY
MERCER COUNTY DEPUTY CLERK OF SUPERIOR COURT
Respondent :. LAW DIVISION — CRIMINAL PART
: INDICTMENT NO. 91-12-1439
Vv. co,
CRIMINAL ACTION
WILLIAM STOVALL, |
: ORDER DENYING THE PETITIONER’S (
Petitioner. : APPLICATION FOR POST-CONVICTION
RELIEF

 

THIS MATTER having come before the Court on the application for post-conviction
relief of the petitioner, William Stovall; Shanti Narra, Esq., appearing on behalf of the petitioner;
Mercer County Assistant Prosecutor, Kathleen Petrucci, appearing on behalf of the State of New
Jersey; and the Court having considered the submissions of counsel for the parties; and the Court
_— heard argument en September 14, 2012; and for other good cause shown,

irison THs / 77 day of September 2012,

ORDERED that Petitioner’s application for post-conviction relief is DENIED.

The Court’s findings of fact and conclusions of law are set forth in the attached opinion.

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HONORABLE THOMAS M. BROWN, J.S.C.

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NOT FOR PUBLICATION WITHOUT APPROVAL OF
THE COMMITTEE ON OPINIONS

 

STATE OF NEW JERSEY,

Plaintiff
Vv.
WILLIAM STOVALL,
Petitioner.

SUPERIOR COURT OF NEW JERSEY
MERCER COUNTY

LAW DIVISION — CRIMINAL PART
INDICTMENT NO. 91-12-1439

 

 

Kathleen Petrucci, Mercer County Assistant Prosecutor, for the State.

Shanti Narra, Assigned Counsel for the petitioner, William Stovall.

CLERK OF SUPERIOR COUR:
SUPERIOR COURT OF NL
MERCER COUNTY
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HONORABLE THOMAS M. BROWN, J.S.C.

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I. STATEMENT OF FACTS & PROCEDURAL HISTORY

On February 13, 1991, Investigator Albert Melendez of the New Jersey Department of
Corrections, Internal Affairs Unit, received a letter from a New Jersey State Prison inmate named
Daniel Ducret. (8T 21: 10 to 22). Ducret provided information to Investigator Melendez that an
inmate named Kareem, later identified to be the defendant, had approached him about planning
an escape from prison. (8T 30: 2 to 13). Through Investigator Melendez’s investigation, Internal
Affairs learned that the defendant was planning to use weapons and explosives to affect the
escape. (8T 51: 12 to 22; 8T 96: 8 to 16).

On December 16, 1991, the Mercer County grand jury returned indictment number 91-12-
1439, charging the defendant with the following: Count I, Conspiracy in the second degree in
violation of N.J.S.A. 2C: 5-2; Counts II and Ill, Criminal Attempt to Commit Escape in the
second degree in violation of N.J.S.A. 2C: 29- 5a, N.J.S.A. 2C: 5-1 and N.J.S.A. 2C: 2-6; Counts
IV and V, Criminal Attempt to Procure Implements of Escape in the second degree in violation
of N.LS.A. 2C: 29-6, N.J.S.A. 2C: 5-1 and N.JS.A. 2C: 2-6; Counts VI and VI, Criminal
Attempt to Possess Weapons for Unlawful Purpose in the second degree in violation of N.J.S.A.
2C: 39-4a, N.J.S.A. 2C: 5-1 and N.LS.A. 2C: 2-6 and 2C:39-4c, N.J.S.A. 2C:5-1 and N.JS.A.
2C:2-6 respectively; Count VIII and IX, Criminal Attempt to Commit unlawful Possession of a
Weapon in the third degree in violation of N.J.S.A. 2C: 39-5b, N.J.S.A. 2C:39-5f, N.JS.A. 2C; .
5-1 and N.J.S.A. 2C: 2-6; and Counts X and XI, Criminal Attempt to Possess a Prohibited
Devise, in violation of N.J.S.A. 2C: 39-3a, N.J.S.A. 2C:39-3c, N.JS.A. 2C: 5-1, and N.J.S.A.
2C: 2-6; and Count XII, Possession of a Prohibited Device, in violation of N.J.S.A. 2C: 39-3f,

N.J.S.A. 2C: 5-1 and N.J.S.A. 2C: 2-6.

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A trial was held before the Honorable David J. Schroth, J.S.C. from April 4 to April 29,
1994. The defendant was found guilty of Counts II, IV, VI and VII — XII. On June 17, 1994, the
defendant was sentenced to an aggregate term of thirty years imprisonment with a ten year
period of parole ineligibility to be served consecutively to a previously imposed sentence of
seventy-five years with a thirty-six year parole disqualifier. The defendant filed an appeal on
-]October 20, 1994. On December 2, 1996, the Appellate Division affirmed the defendant’s
conviction and remanded the case for resentencing on Count IV, Attempt to Procure Escape
Implements in the second degree and Count VI, Attempt to Possess Weapons for an Unlawful
Purpose in the second degree. The defendant filed petition for Certification with the New Jersey
Supreme Court which was denied on March 17, 1997. On July 22, 1997, an amended judgment
of conviction was entered sentencing the defendant to a term of twenty years with a ten year
period of parole ineligibility. That judgment of conviction was corrected on May 6, 1998 to
reflect a thirty year sentence with a ten year period of parole ineligibility.

The defendant filed a notice for post-conviction relief on November 19, 1997. On |

March 5, 1998, the Office of the Public Defender filed a Notice of Motion for post-conviction
relief, relying on the original pro-se petition filed by the defendant. On April 28, 1998, the —
defendant’s then counsel filed a motion to withdraw the Petition for post-conviction relief and a
new attorney was assigned to represent the defendant. On.March 25, 2011, the defendant’s new
counsel filed an amended verified petition and supplemental brief on behalf of the defendant. On
June 2, 2011, the Mercer County Prosecutor’s office filed a brief in response to petitioner’s post-

conviction relief application. On September 14,-2012, counsel for the defendant and the State .

argued the matter.

 

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II. LEGAL ANALYSIS

In this application, the defendant Souk that he was denied effective assistance of counsel by
both trial and appellate counsel. The State responds that the defendant has failed to establish
grounds for relief by a preponderance of the evidence and that the defendant is procedurally
barred pursuant to R. 3: 22-4.
A, Timing of the Application

Pursuant to R. 3: 22-12, a first petition for post- conviction relief must be filed no more than
5 years after the date of the entry of the judgment of conviction. Pressler & Verniero, Current

N.J. Court Rules, R. 3:22-12, (2012). The defendant’s application for post-conviction relief was

 

filed originally filed on November 19, 1997, three years and five months after the entry of the
judgment of @nvictien. Although it appears there have been extensive delays in the court’s
opportunity to review the application in connection with the change in the defendant’s assigned
counsel, the Court finds that the defendant’s application is nevertheless timely pursuant to the
current rules of the court as relaxed per correspondence to the defendant dated April 11, 2005
from Hon. Bill Mathesius, J.S.C..
B. Grounds for Post-Conviction Relief
In accordance with R. 3: 22-2, a defendant may file an application for nast-Convitticn

relief based on: a) substantial denial in the conviction proceedings of defendant’s rights under the
Constitution of the United States or the Constitution or laws of the State of New Jersey; b) lack
of jurisdiction of the court; c) imposition of an illegal sentence, (a) any habeas corpus, common-
law or statutory remedy for collateral attack.

“A petitioner must establish the right to [post-conviction] ... relief by a preponderance of the

evidence. Post—conviction relief is neither a substitute for direct appeal... nor an opportunity to —

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‘felitigate cases already decided on the merits.” State v. Preciose, 129 N.J. 451, 459 (1991),

 

¢itations omitted. Thus, if the petitioner failed to raise a claim in a prior proceeding, he may be
' procedurally barred from post-conviction relief, unless the petitioner can show: a) that that the
ground for relief not previously disatel could not reasonably have been raised in an prior
proceeding; or b) that enforcement of the bar would result in fundamental injustice; or c) that
denial of relief would be contrary to the Constitution of the United States or the State of New
Jersey. Id. Further, a defendant will only be entitled to an evidentiary hearing on his post-
ronviction relief application, upon the establishment of a prima facie case of post-conviction
telief, the court’s finding that there are disputed issues of material fact that cannot be resolved by
the existed record, and a determination that an evidentiary hearing is necessary to resolve the
tlaims for relief. Pressler & Verniero, Current N.J. Court Rules, R. 3.22-10 (b), (2012). The
Hefendant must establish the right to post-conviction relief by a preponderance of the credible
evidence. State v. Williams, 284 N.J. Super. 142, 149 (Law Div. 1995), citing State v. Mitchell,
126 N.J. 565 (1992),

The defendant argues that trial counsel and appellate counsel failed to provide effective

assistance of counsel. For an ineffective assistance of counsel claim, the defendant must

establish the following pursuant to the test set forth in Strickland vy. Washington, 466 U.S. 668,

 

694, 104 S.Ct. 2052, 2068 (1984), adopted by the New Jersey Supreme Court in State v. Fritz.

105 N.J. 42 (1987): 1) that his counsel’s performance was deficient and 2) that but for his
| counsel’s deficiency, the result of the proceeding would have been different. The defendant
must establish both prongs of the Strickland test for a successful claim. Ibid. For a prima facie
claim of ineffective assistance of counsel, the defendant must establish a reasonably likelihood of

succeeding under the: Strickland test, viewing the facts in the light most favorable to the

 

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defendant. Pressler & Verniero, Current N.J. Court Rules, R. 3:22-10 (b), (2012); State v.

Presciose, supra, 129 N.J. 451 at 463.

 

Deficient performance, in accordance with the first prong of Strickland, requires the
defendant to prove that counsel’s errors were so serious that the attorney was not actually
performing the function of counsel as defined by the Sixth Amendment of the United States
Constitution. Id. at 687. There is a strong presumption that counsel’s conduct falls within the
wide range of reasonable professional assistance. Id. at 689. The defendant must specifically
identify counsel’s actions or omissions that did not constitute reasonably professional judgment.
Id. at 690. The court will review the reasonableness of counsel’s challenged conduct in
connection with the facts of the particular case. Id. Based on this review, the court must find that
the challenged conduct was so egregious as to undermine the court’s confidence in the
defendant’s conviction. Id, at 694.

In this case, the defendant argues that he should be granted post-conviction relief based on
ineffective assistance of counsel because of the following conduct: 1) trial counsel’s failure to
object or move for:a mistrial based on the introduction of an unstipulated polygraph reference; 2)
trial counsel’s failure to object or move for mistrial based on a witness’s reference to an outside
source; and 3) cumulative errors made by both trial and appellate counsel.

Trial counsel’s and appellate counsel’s alleged deficiencies will be addressed separately first,

_ then addressed cumulatively.
1. Ineffective Assistants of Trial Counsel
a. Introduction of Polygraph Reference
The defendant asserts that trial counsel erred in allowing testimony regarding an unstipulated

polygraph reference. Specifically, the defendant asserts that testimony given by Daniel Ducret on

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cross-examination, in connection with Investigator Melendez’s testimony, introduced
unstipulated polygraph evidence for the jury’s consideration.

' In New Jersey, polygraph results are generally not admissible. New Jersey. State v. Domicz,
188 N.J. 285, 312-13, 907 A.2d 395 (2006); State v. McDavitt, 62 N.J. 36, 44, 297 A.2d 849
(1972); State v. Driver, 38 N.J. 255, 261, 183 A.2d 655 (1962). Further, direct or indirect
references to polygraph results are inadmissible and will necessitate a reversal if admitted. See
State v. Armwine, 67 N.J. Super. 483, 495 (App. Div. 1961), State v. Parsons, 83 N.J. Super. 430
App. Div. 1964). - |

Specifically, defendant questions the following testimony of Investigator Melendez on re-

direct examination:

Q: Now Officer, is there any reason why when you first received this information
from Mr. Ducret that you didn’t just go over once you found out it was William
Stovall he was talking about and say Mr. Stovall, we found out about your plan to
escape and you can’t do it.

Excuse me? Is there any reason why we wouldn’t have done that?

Yeah.

Yes.

There is. Can you tell us what that reason might be?

Due to the way the Department of Corrections operate, there need to be some type
of substantiation to the allegations. We wouldn’t just make - - to accuse
somebody to be planning an escape.

So, based on the information that you received from him on the 13", that would -
not be sufficient to have charged Mr. Stovall with anything?

No.

Sir, would it have been appropriate for you to have ignored the information you
received from Mr. Ducret?

No.

Why not?

Because of the seriousness of the escape plan, and the fact that it was coming
from inmate Ducret and it involved inmate William Stovall.

Sir, if you had - - well, before turning the information over to Special
Investigation Unit, without - - I’m not asking you to disclose your procedure and
what you did, but did you attempt to - - take steps I think you mentioned to verify
the information that you had received/

A: Yes.

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Q: And based on the steps you took, you did go and contact the Special Investigation
Unit?
A.: - Yes.

(8T 77: 2 to 15: 22 to 25), (8T 78: 1 to 16).
The defendant further questions the following testimony of Daniel Ducret on

cross examination:

After you had your meeting in February, you were given a phone number to
contact Lopes: Correct?

Excuse me?

After you had your meeting in February, February 13, 1991, you were given the
phone number of Lopez, correct?

I don’t know how long after that , but yes, sometime after the meeting I was given
the phone number.

How many meetings did you have with people in Internal Affairs?

From Internal Affairs, I had - - I believe I had two.

When were those meetings? We know one was February 13", when was the other
one?

February 16, I believe.

Do you remember who was at that second meeting?

It was just a female officer from Internal Affairs, I believe.

Just the female officer or was there anyone else?

No just the female officer.

What did you discuss with the female officer?

I didn’t discuss much. It was a polygraph test.

And didn’t you receive the telephone number before that meeting?

I don’t think so, no.

(8T 150: 15 to 25; 151: 1 to 11)

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The defendant contends that when the Investigator Melendez’s testimony was taken together
with Daniel Ducret’s testimony, the jury reasonably inferred that Mr. Ducret passed a polygraph
test. The defendant further argues that this testimony prejudiced the defendant by bolstering
Ducret’s credibility. The defendant contends that his trial counsel should have objected to the
introduction of polygraph evidence since it is inadmissible.

The reference to polygraph information was brought out by questioning from the defendant’s

trial counsel on cross examination of Daniel Ducret. After there was mention of a polygraph test,

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defense counsel diverted the questioning onto another subject and did not press about the results
df the test. The State also did not ask _ questions on redirect about the results of the polygraph
test. The reference to the test was minimal. Further, the results of the polygraph test were not
explored by the defendant’s trial counsel. It was for the jury to decide the credibility of the
witnesses. Given the length of the trial, the number of witnesses and the weight of the evidence
against the defendant weighted against the aie time reference to a polygraph test, it is
unreasonable that a jury hearing that a polygraph test was given would jump to the conclusion
that the test was passed and therefore the State’s main witness was more credible than before.
Even if the jury did find Daniel Ducret to be more credible as a result of this testimony, the
outcome of this case likely would have been the same given the length of the trial and the scope
of evidence against the defendant. The majority of the evidence against the defendant came from
the defendant’s contact with undercover State Police Detective, Amalio Nieves.

In addition, this is an issue that should have been properly raised on direct appeal and is thus,
not applicable in a post-conviction relief application. It does not appear that this issue was raised
in the defendant’s appeal of December 2, 1996. In accordance with R. 3:22-4, any ground for
relief not raised in a prior proceeding under this rule, or in the proceeding resulting in the
conviction ... or in any appeal taken in such proceedings is barred from assertion in a proceeding
under this rule unless it falls under one of the flee delineated exceptions, mentioned above. No
exception is applicable to this issue. Defendant has not made any showing that an enforcement of
the bar of this issue would result in fundamental injustice or that denial of relief would be
contrary to the U.S. or New Jersey Constitution. Therefore, the defendant has not shown that

post-conviction relief should be granted on the basis of the introduction of unstipulated

polygraph reference.

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b. Reference to an Outside Source
Defendant also argues that Investigator Melendez’s testimony that referred to an “outside
source” conveyed information from a non-testifying declarant to incriminate the defendant in
violation of the Confrontation Clause.
Specifically, the defendant believes the following testimony was improper:

Q: Okay, and based upon the information that he provided you with, what did you
do?

A: At the completion of the interview, we took steps to verify the information he had
given us.

Q: Now, would it be fair to say that you took some other steps in furthering your
investigation?

Yes.

And as a result of taking those additional steps in the investigation, did there ever
come a time when you decided to provide this information to another law
enforcement agency?

A: Yes

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You didn’t get the impression in your mind that, hey, maybe this guy Ducret is
calling the shots and not the guy Kareem?

Once my office corroborated the information, we did not or I did not have

that impression.

The State argues that trial counsel’s failure to object was a strategic move and further did
not cause counsel to fall below reasonably competent representation of the defendant. Again,
similar to the defendant’s argument regarding the polygraph reference, trial counsel’s failure to
object to references to an outside source likely would not have changed the outcome of the case

and was a reasonable decision as part of trial counsel’s strategy. The Investigator did not testify

to any statements made by the alleged “outside source” that the jury considered. Rather his
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testimony only indicates that he continued with the investigation once his office corroborated or

verified the information. In ongoing investigations, information can be corroborated through a

variety of investigatory tools. Corroboration is not synonymous with testimony from an “outside:

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source.” Therefore, this Court finds that trial counsel was not ineffective for failure to object to

Investigator Melendez’s testimony regarding an “outside source.”

Additionally, this issue also should have been raised on direct appeal and is therefore

barred pursuant to R. 3:22-4.

wz. Ineffective Assistance of Appellate Counsel

‘The Strickland test is also used to evaluate ineffective assistance of counsel claims for

appellate counsel. State v. Morrison, 215 N.J. Super. 540, 546 (App. Div.1989) , certif. denied. .

 

107 N.J. 642 (1987), See Smith v. Murray, 477 U.S. 527, 535 (1986); State v. Harris, 181 N.J.

 

391, 518 (2004). To establish an ineffective assistance of appellate counsel claim for, the
defendant must show that his attorneys representation fell below an objective standard and the
defendant was prejudiced as a result. State v. Morrison, supra. “While an attorney should
zealously advance the cause of his client ... It is improper for an ome to present an issue
unless it can be done in good faith. Simply because an indigent defendant has the right to be
represented by counsel ... does not oblige his counsel to urge specious arguments so as to satisfy
that right. No party has the right to have advanced on his behalf contentions that are palpably and
clearly unmeritorious. State v. Kyles, 132 N.J. Super. 397, 400-401 (1975). Taken another way,
appellate counsel, like trial counsel, has the ability to determine a strategy of which issues should

be raised and which issues are not worth raising on appeal.

In the brief excerpt of the appeal that the defendant attached to his initial filing, it appears

hat appellate counsel raised the following arguments: 1) defendant was denied his constitutional
fight to a fair trial because he was shackled during the trial, 2) the trial court erred by denying
Hefendant’s motion to dismiss for lack of a speedy trial, 3) the trial court erred by denying the

defendant the right to cross-examine Ducret on his prior escape plan, 4) defendant was denied

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effective assistance of counsel, 5) the trial court erred by denying the motion for judgment
notwithstanding the verdict on grounds for due process entrapment, 6) the cumulative error
doctrine required a reversal of defendant’s conviction and 7) the sentence imposed was excessive
and illegal.

Appellate counsel also argued in her brief that the court abused its discretion in allowing the
defendant’s witnesses to be in prison garb and shackles. After considering these arguments, the
appellate division affirmed the defendant’s conviction and remanded case for resentencing on
Count IV, Attempt to Procure Escape Implements in the second degree and Count VI, Attempt to
Possess Weapons for an Unlawful Purpose in the second degree.

The defendant only claims that appellate counsel was ineffective for failure to raise the issue
of the admission of unstipulated polygraph testimony at trial. This alone does not show that
appellate counsel’s actions were so egregious that defendant was prejudiced. The Appellate
Division considered the numerous arguments raised by appellate counsel. It was appellate
counsel’s professional strategy not to raise the issue of polygraph seSiniony: As mentioned,
appellate counsel is not obligated to raise every issue on appeal, only issues which can be raised
clearly and in good faith. State v. Kyles, 132 N.J. Super. 397, 400-401 (1975).

3. Cumulative Errors of Counsel

Prior adjudication on an issue, particularly on direct appeal, will ordinarily bar post-
conviction relief. Pressler & Verniero, Current N.J. Court Rules, comment on R. 3:22-5 (2012),

See State v. Harris, 181 N.J. 391, 494 (2004); State v. Marshall, 148 N.J. 89, 147-152, cert.

 

denied 522 U.S. 850 (1997); State v. McQuaid, 147 N.J. 464, 484 (1997); State v. White, 260

 

N.J. Super. 531 (App. Div. 1992), certif. den. 133 N.J. 436 (1993). R. 3: 22-5, provides: “ A

prior adjudication upon the merits of any ground for relief is conclusive whether made in the

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Case 3:20-cv-01709-BRM Document 1-2 Filed 02/18/20 Page 83 of 111 PagelID: 104

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proceedings resulting in the conviction or in any post-conviction proceeding brought pursuant to
this rule or prior to the adoption thereof, or in any appeal taken from such proceedings.”
The issues raised in the present post-conviction relief application, including ineffective
assistance of trial counsel, have all been raised by appellate counsel on appeal. Defendant does
not get another bite at the apple to now re-argue those issues that were considered, Therefore,
with the exception of the claim of ineffective assistance of appellate counsel all issues raised in
this post-conviction relief application are barred pursuant to R 3: 22-5. Defendant failed to
make a prima facie case to show that he was denied ineffective assistance of appellate counsel.
As stated appellate counsel argued a multitude of issues on behalf of the defendant and used
her discretion to determine which issues she would not be able. to present to the Appellate
Division in good faith.

Conclusion
Defendant is procedurally barred from raising the issue of ineffective assistance of trial
counsel as, although this is generally argued on an application for Post Conviction Relief, this
issue was raised on appeal. Further, this Court finds that the Defendant has failed to make a
prima facie showing that either trial counsel or appellate counsel’s failure to raise the issue of the
unstipulated polygraph reference and reference to an outside source, constituted ineffective
assistance of counsel. Defendant has not satisfied this Court by a preponderance of the evidence
his right to post-conviction relief. Based on the foregoing, the defendant’s application for post-

conviction relief is denied.

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NOT FOR PUBLICATION WITHOUT THE
APPROVAL OF THE APPELLATE DIVISION ©

SUPERIOR COURT OF NEW JERSEY
APPELLATE DIVISION
- DOCKET NO.. A-1162-13T4
STATE OF NEW JERSEY,
Plaintiff£-Respondent,
Ve

WILLIAM STOVALL, ~

Defendant-Appellant.

 

Submitted January 26, 2016 — Decided February 17, 2016
Before Judges Hoffman and Whipple. -

-On appeal from Superior Court of New Jersey,

Law Division,: Mercer County, Indictment No.

91-12-1439.

Joseph E. Krakora, Public Defender, attorney
for appellant (Winnie Ihemagquba, Designated
counsel, on the brief). :

Angelo J. Onofri, Acting Mercer County
Prosecutor, attorney for respondent (Brett
A. Berman, Special Deputy Attorney
General/Acting Assistant Prosecutor, of
counsel and on the brief).
PER CURIAM
Defendant William Stovall, an inmate at New Jersey State
Prison, ‘was ‘charged and convicted of several offenses for

attempting to procure weapons and explosives to facilitate an

escape from prison. He now appeals from a September 19, 2012

 

 
 

 

; Case '3:20-cv-01709-BRM Document 1-2. Filed.02/18/20 Page 85 of 111 PagelD: 106

“trial court ‘order denying his petition for post-conviction
relief (PCR). For the reasons that follow, we affirm.
. :

We. fully set forth the factual background of this case in-
our prior opinion affirming "defendant "s conviction on Sieeat
‘ appeal,, State v. Stovall, No. A-0850-94 ‘ (App. Div. Dec. 2,°
°1996), certif. denied, 149 N.J. 35 (1997), and peed ‘not repeat

it here. :

This matter commenced in 1991, when a Mercer Conny grand
_jury charged defendant . with ten nf ¥dacca’ second-degree
eohspiracy to eacape from prison, W.J.S.A. 20:5-2 and 29-5(a);
‘second-degree attempt to escape from prison, N.J.S.AL 2C:5-1 and
29-5(a); second-degree attempt £6 ficcune implements of escape
from prison, N.J.S.A. 2C:5-1 and 29-6(a)(2); second-degree
attempt to sonkeas firearms for an unlawful purpose, N.J.S.A.
2C:5-1 and 39-4(a); second-degree attempt to possess destructive
devices for an unlawful prixpodsa | Nid S).2. 2C:5-1, 39-4(c);
third-degree attempt to possess. handguns for an unlawful
purpose, N.J.S.A. 2c:5-1 and 39-5(b); third-degree attempt to
possess an assault ‘firearm for an unlawful purpose, N.dJ.S.A.
20:5-1 and 39-5(£); third-degree attempt to possess destructive
devices for an nHilavelh, Gupese, N.J.S.A> 2C:5-1 and 39-3(a);

fourth-degree attempt to possess a firearm silencer for an

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-Case 3:20-cv-01709-BRM Document 1-2. Filed 02/18/20 Page 86 of 111 PagelD: 107

unlawful purpose, N.J.S.A. 2C:5-1 and 39-3(c); and Pourlit-degree
attempt ‘to enaenee armor-penetrating ammunition for an unlawful
‘purpose, we 2C:5-1 and 39-3(f£)(2).

A jury convicted eaten of all ten offenses. The court
sentenced defendant to thirty years imprisonment with twenty
years of parole ineligibility, to run consecutively to a
previously imposed sentence of seventy-five years with a thirty-
six-year paxotles disqualifier. _On direct appeal, we affirmed the
conviction, but ‘remanded the matter for re-sentencing.? stovall,
supra, slip op. at 20.

hpedrdiing to the State's brief, on November 17, 1997,
ascendant filed a pro se petition for PCR; counsel for defendant
filed but then withdrew a neide, but the petition eo not
Peiitaan. At some point thereafter, defendant was appointed

- counsel, who filed. a eipplencaeal brief in 2011, sivexting
‘ineffective sagiotenes of couneel:: On September 19, 2012, the
PCR judge -denied-the petition without an afin loey hearing.
Defendant now submits the following arguments on appeal:

POINT I

THE TRIAL COURT ERRED IN DENYING DEFENDANT'S
PETITION, FOR POST-CONVICTION RELIEF SINCE
TRIAL COUNSEL WAS INEFFECTIVE FOR FAILURE TO
REQUEST CURATIVE INSTRUCTIONS OR MOVE FOR A

 

1 On remand, the trial court eventually sentenced defendant to a
thirty-year prison term with ten years of parole ineligibility.

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: Case 3:20-cv-01709-BRM Document 1-2 Filed 02/18/20 Page 87 of 111 PagelD: 108

MISTRIAL WHEN UNSTIPULATED POLYGRAPH
EVIDENCE WAS INTRODUCED AT TRIAL.

POINT If

‘THE TRIAL COURT ERRED IN DENYING DEFENDANT'S
PETITION FOR POS?-CONVICTION RELIEF SINCE
TRIAL COUNSEL WAS INEFFECTIVE FOR FAILURE TO
OBJECT TO DEFENDANT'S WITNESSES TESTIFYING
IN PRISON GARB WHILE HANDCUFFED AND

SHACKLED.
POINT III

THE TRIAL COURT ERRED IN DENYING DEFENDANT'S
PETITION FOR [POST-CONVICTION] RELIEF SINCE
APPELLATE COUNSEL WAS INEFFECTIVE FOR
FAILURE TO CHALLENGE THE ADMISSION OF
UNSTIPULATED POLYGRAPH TESTIMONY AT TRIAL.

POINT IV

DEFENDANT REASSERTS ALL OTHER ISSUES RAISED
IN DEFENDANT'S PRO SE POST-CONVICTION RELIEF

PETITION.
‘POINT V

THE TRIAL. COURT ERRED IN DENYING DEFENDANT'S
REQUEST FOR AN EVIDENTIARY HEARING.

II.

To establish a prima facie case of ineffective assistance
of counsel, a petitioner must show: (1) counsel's performance
we objectively — deficient; and (2) counsel's deficient
performance prejudiced the petitioner to the extent that he was
deprived of his right to a fair trial. State. v. Fritz, 105 Ned.

42, 58 (1987) (adopting the United State's Supreme Court's two-

prong test from Strickland v. Washington, 466 U.S. 668, 687, 104

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S. Ct. 2052, 2064, 80 L. Ed. 2d 674, 693 (1984)). Prejudice
means "a ‘reasonable probability" the deficient performance
"materially contributed" tothe petitioner's conviction. Ibid.

A petitioner for PCR is generally entitled to. an

- evidentiary . hearing upon showing a prima facie claim of

ineffective assistance. State Vv. Porter, 216 N.J. 343, 354.
(2013). To establish a prima facie claim, the petitioner "must

‘Gifieres specisic facke and evidence supporting his allegations."
Id. at 355. The trial court has discretion to dispense with an
euidentice hearing "[{i]f the court perceives that holding an ~
evidentiary hearing will not aid the court's analysis’ of whether
the defendant is entitled to ~aat<convilgtion relief, . . . or
that the defendant's ie gauss are too soins: conclusory, or
speculative to warrant an evidentiary hearing[.]" . State _ v.-
Marshall, 148 N.J. 89, 158 (citations omitted), cert. denied,
522 U.S. 850, 118 S. ct. 140, 139 L. Ed. 2d 88 (1997).

Defendant first argues that his trial sonneel provided
ineffective assistance during trial by failing to object to
certain testimony from Daniel Ducret, one of the State's
principal witnesses. Ducret. was a jailhouse informant who had
tipped off the authorities about defendant's plan to escape from
prison, and assisted with the undercover investigation that led

to defendant's arrest. During his cross-examination, Ducret

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mentioned that he underwent a polygraph test prior to working
with law antecedent during the investigation.? Rather than
moving to strike this reference to sie polygraph, defendant's
Stina Jecuaget changed the subject’ and sisi on with the aeieae

examination. =~

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In New : Jersey; polygraph ents are generally not -
admissible = trial. State v. Domicz, 188 N.J. 285, 312-14
(2006). Further, direct ot aridt rées references to the results
of a polygraph test are inadmissible, and have .the potential to

. prejudice a defendant. State v. Arnwine, 67 N.J. Super. 483,

‘

495 (App. Div. 1961).

Although noting that the references. to Ducret's. polygraph

test were inadmissible, the PCR ‘judge concluded that defendant.
was not prejudiced by his counsel's failure to request a

curative instruction or move for a mistrial: -

The reference to polygraph information was
brought out by questioning from the
defendant's trial counsel on: cross
examination of Daniel Ducret. After there
was mention -of a polygraph test, defense
counsel diverted the questioning onto
another subject and did not press about the
results of the test. The State also did not
ask any questions on redirect about the
results of the polygraph test. The
reference to the test was minimal. Further,

 

2 The polygraph was also indirectly referenced by one of the
detectives involved in the investigation, who testified that he
had taken steps to corroborate Ducret’s information.

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‘the results of the polygraph test were not
explored by, [defendant's] trial counsel. It
was for the jury. to decide the credibility
of the witnesses. Given the length of the.
~ trial, the number of witnesses and ‘the
weight of the evidence against the defendant
weighted against’ the one time reference to a
polygraph test, it is unreasonable that a
jury hearing that a polygraph test was given
would jump to the conclusion that the test
was passed and therefore the State's main
witness was more credible than before.-

' We discern no error in the PCR judge's conclusion. As for.
the first prong of the Strickland test, trial counsel's setiwien
not to raise an objection: to the polygraph reference was not a
constitutionally—deficient trial strategy. The reference to the
polygraph was plainly inadmissible; however, rather than

bringing more attention to the polygraph, defense counsel chose

 

 

 

 

 

 

 

 

to change the subject and move on with his cross-examination.
Defense counsel did not explore the issue further, and the

"results of the polygraph were never introduced at trial. As

 

Ducret only made a passing reference to the polygraph, the
effect was likely minimal. Although trial counsel might have
requested the court to address the, maesing reference to' the
polygraph, merely neering a ‘Jegedt basis to object to evidence
does not necessarily iowasé a eonstitational duty to do so.

Furthermore, the PCR judge correctly -concluded that

 

defendant was not prejudiced by the reference to the polygraph

test. Even assuming that the jury gave more weight to Ducret's

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Case 3:20-cv-01709-BRM Document 1-2 Filed 02/18/20 Page 91 of 111 PagelD: 112

testimony based on an inference that he had passed a polygraph
test, defendant's conviction was supported ig ‘compelling
evidence provided by another witness. Specifically, Detective
Amalio Nieves — who worked undercover as Ducret's supposed gun
ith. explosives . dealer aria senive directly - with defendant —
testified astendively to gatendant*s efforts to procure weapons
and explosives for the unuede of escaping from prison. This
testimony was Adacie, Gutticien:, Standing alone, to support the
jury's verdict. Defendant's argument that "the State's seat
hinged on Ducret's credibility" is .unfounded, in light of .the
overwhelming evidence against him provided by Detective Nieves.’

Defendant next asserts that his trial counsel provided

ineffective assistance by failing to object when two of his

supporting witnesses, who were inmates, were required to testify

in Shackles and prison garb. Defendant contends that his trial
counsel's failure to object to the requirement — orf,
alternatively, to request a Rule 104 hearing on the issue — was

prejudicial because the shackles and prison garb "had the

 

3* For substantially the same reasons, defendant challenges the
sufficiency of his appellate counsel's representation. He
asserts that “but for appellate counsel's failure to challenge
the trial court's-abuse of discretion, the outcome of this case
would have been different, a new trial where the unstipulated
polygraph test is excluded." For the reasons already noted, we
discern no merit in defendant's claim of ineffective assistance

of appellate counsel.

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‘potential of undermining the ‘testimony that [the witnesses]

offered on pdatendentea} behalf."

We agree with the PCR judge that defendant wae | not
prejudiced ‘by his trial counsel's failure to object to -this
requirement. During trial, it was obvious that the witnesses
were New Jexsey State Prison inmates. ‘Both nen teatizied thee
they were inmates who had direct contact with Ducret; im. fact,
their current incarceration was _ the focal point of their
testimony. Defendant's Sanaa: that the. jury might have
reached a different result if these two:witnesses had testified
in plain clothes and without shackles clearly lacks merit. ' The
testimony of both witnesses focused on the fact that Ducret had
also approached them about potentially facilitating a weapons
deal. Even assuming that their continent had been given full
weight, defendant: has not shown any reasonable probability that
the quryis deaaeie would have been different.‘ The SeRi juase
correctly seneluded that defendant failed to establish a prima

facie case of ineffective assistance of counsel.

 

4“ The Supreme Court has since ruled that "a trial court may not
require a defendant's witness to appear at trial in prison
garb[,]" State v. Artwell, 177 N.J. 526, 539 (2003); however, in
State v. Dock, 205 N.J. 237 (2011), the Court stated, “Artweli's.
limited prohibition on the use ‘of restraints on defense
witnesses . . . is to have prospective effect." Id. at 258-59.
Thus, as defendant's trial took place in 1994, the trial court

‘did not violate the rule in Artwell by requiring defendant's

witnesses to testify in prison garb.

A-1162-13T4

 
 

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We also reject defendant's: argument that the PCR court .
erred by failing to conduct an evidentiary hearing on his
petition. A hearing is required.

only upon the establishment of a prima facie
case in support of post-conviction relief, a

. determination by the court that there are
material issues of disputed fact that cannot
be -resolved .by reference to. the existing -
record, -.aand a determination - that an
evidentiary hearing is necessary to resolve oa.
the claims for. relief. To establish a prima
facie case, defendant must - demonstrate -@a
reasonable likelihood that his. or her- claim,
viewing the facts alleged in the light most
favorable to the defendant, will ultimately
succeed on.the merits. . .

[R. 3:22-10(b) «J

Because defendant failed “to present a prima facie case of
ineffective assistance of counsel, si. evidentiary hearing was
not required on defendant's petition. We are convinced that the
existing record was sufficient to resolve defendant's claims.
Moreover, even assuming that defendant's counsel committed
errors, we discern no reasonable probability that ‘any such
errors materially contributed to his convictions.

Affirmed.

thereby certify that the foregoing
is a true copy of the iy. on

file in my office.
nel

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Case 3:20-cv-01709-BRM Document 1-2 Filed 02/18/20 Page 94 of 111 PagelID: 115

Prepared by the Court

 

: SUPERIOR COURT OF NEW JERSEY

STATE OF NEW JERSEY, : MERCER COUNTY
: LAW DIVISTON — CRIMINAL PART
Plaintiff, : INDICTMENT NO: 91-12-1439
¥S. :

CRIMINAL ACTION
WILLIAM STOVALL,
ORDER
Defendant.

 

THIS MATTER, having been brought before the court upon the motion of pro se
defendant. William Stovall. secking to correct his alleged illegal sentence: and the court having
considered his submissions and for ood cause shown:

IT lS on this. : ‘day of August 2017, hereby ORDERED that the Defendant's Motion

to correct his illegal sentence is hereby MOOT for the reasons stated in the letter addressed to

defendant.

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oh - “THEHON. THOMAS M BROWN.JS.C.

 

 

 

 

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Case 3:20-cv-01709-BRM Document 1-2 Filed 02/18/20 Page 95 of 111 PagelD: 116

SUPERIOR COURT OF NEW JERSEY
MERCER VICINAGE

Thomas M. Brown
Judge of the Superior Court
P: (609) 571 - 4860
F: (609) 871 - 4874

Mercer Counts Courthouse
P.O. Box 8068
Trenton, NJ 08650-0068

 

August 29, 2017 Phas

William Stovall. SBI # 2101974

East Jersey State Prison Bee hte
1100 Woodbridge Road recent gh Over ge oh
Rahway. New Jersey 07065 BS

RE: Pro ye mouon to correct illegal sentence (Ind. No. 91-12-1439)
Dear Mr. Stovall.

This Coun has reviewed vour pro se motion regarding your alleged illezal sentence. This motion is
moot, as you have already exhausted your appeal remedies and your post-conviction relief remedies.
Nevertheless. for your accommodation; please find each of your arguments addressed individually below,
Doctrine of Merger does not apply to the Count II and Count IV convictions, and, thus, may be
consecutively sentenced,

Escape is defined as a defendant removing himself. without lawful authority, from oficial detention.
N.JS.A, 2C:29-5. A related charge, but not a lesser included offense, is obtaining implements for escape. which
is defined as “knowingly and unlawfully” possessing “any implement of escape.” N.LS.A, 2C:29-6. Both of
these charges may be accompanied by an inchoate offense. such as an “attempt” offense. N.JS.A. 2C:5-1. The
United States Supreme Court has held that in cases where two offense arise out of the same act or transaction.
the oflenses do not merge so long as each requires clements that the other does not. Sce Blockburger v. United
States, 248 U.S. 299, 304 (1932). Thus. an acquittal of conviction under one statute does not preclude
punishment under another statute from the same act or transaction, provided the all the clements of the second
offense are still met. Albrecht v. United State 273 U.S. 1. 11-12 (1927).

You argued that your Canstitutional rights were violated because the merger doctrine was not applied to
Count IT and Count IV. In Blockburger the Court considered similar merger concerns. Blockburger. Supra, al

299. There. the Court was considering multiple drug deals. in which the defendant was claiming the offenses

 

 

 

 

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SUPERIOR COURT OF NEW JERSEY
MERCER VICINAGE

Mercer County Courthouse
P.O. Box 8068
Trenton, NJ 08650-0068

Thomas M. Brown
Judge of the Superior Court
P: (609) 571 - 4860
F: (609) 571 - 4874

 

should be meryed into one substantiated offense, rather than multiple counts. Id. at 203. However. beeause the
days were different. the amounts of the drugs were different and the sales were different. the Court ruled that
the statute had been violated multiple times. and should not be merged together with previous transactions. Id.
at 304.

The same reasoning applies in your case. The two offenses committed under separate statutes require
separate factual elements be satisfied. An attempt to escape and an atlempt to possess a weapon in an escape are
clearly separate offenses and require different facts. lt does not matter whether or not similar evidence was used
to convict the defendant of the separate counts. With a conviction under separate counts, running consecutively.
the thirty (30) year incarceration period with ten (10) vears of parole ineligibility remains the correct and
appropriate sentence.

The Rule of Lenity is inapplicable as the jury sheet was completed permissibly.

You further allege your sentence was ambiguous in your motion and supplemental motion that the Rule

of Lenity should apply to his favor. You have not provided a statutory explanation as to why your sentence is

ambiguous. but have rather offered a conclusory determination. Although a clerical correction was made to your

Judgment of Conviction (JOC). you have correctly been sentenced to thirty (30) years with ten (10) vears of

parole ineligibility.

Moreover, your allegation that the jury was improperly instructed before vour conviction with respect to
the second and third degree attempt to cscape charge also fails. The second-degree charge you were sentenced
to has not been challenged or changed throughout your long procedural history. The jury merely checked the
“guilty” box to show that each juror believed the proofs had been satisfied a third degree conviction if each
_ Juror felt the prosecution had established a second-degree conviction beyond a reasonable doubt. Thus. there
was no foul play with respect to the jury sheets.

Actual possession of the weapons in prison does not preclude a finding and conviction of criminal

attempt.

 

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SUPERLOR COURT OF NEW JERSEY
MERCER VICINAGE

Mercer County Courthouse
P.O. Box 8068
Trenton, NJ 08650-0068

Thomas M. Brown
Judge of the Superior Count
P: (609) 571 - 4860
F: (609) 571 - 4874

 

Your conviction of attempting to procure weapons is a mixture of the substantive offense under N.LS.A,

2€:29-6(a)(2) and the inchoate offense of “attempt” under N.LS.A, 2C:5-1. You were convicted of an attempt

to procure the weapons; therefore. physically possessing them is not a material element of the crime vou were

convicted of.

Defendant’s sentence was not increased but rather a clerical crrur was corrected.

The fact that your initial JOC reflected that your sentence was twenty (20) years rather than thirty (30)

years incarceration was a clerical error, and does nol raise a double jeopardy implication. Under double

jeopardy, a defendant is charged multiple times for the same offense, however, you have not been charged

multiple times. Rather. your JOC was amended to correctly reflect the jury's verdict and the trial court's

sentencing determination. The Court may correct a clerical error at its own discretion. R. 1:13-1,

Additionally. the court proceeding which took place to correct the clerical error does not constitute a re-

sentencing. Therefore, your rights were not impeded when you were absent for such correction.

Thank you.

Thomas M. Brown, J.S.C.

 

 

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NOT FOR PUBLICATION WITHOUT THE
APPROVAL OF THE APPELLATE DIVISION

This opinion shall not "constitute precedent or be binding upon any court." Although it is posted on the
internet, this opinion is binding only on the parties in the case and its use in other cases is limited. R. 1:36-3.

 

 

 

SUPERIOR COURT OF NEW JERSEY
APPELLATE DIVISION
DOCKET NO. A-0610-17T4
STATE OF NEW JERSEY, ~
Plaintiff-Respondent,
Vv.

WILLIAM STOVALL,

Defendant-Appellant.

 

Submitted March 26, 2019 — Decided September 4, 2019
Before Judges Hoffman and Suter.

On appeal from the Superior Court of New Jersey, Law
Division, Mercer County, Indictment No. 91-12-1439.

William Stovall, appellant pro se.
_ Angelo J. Onofri, Mercer County Prosecutor, attorney
for respondent (Lauren Martinez, Assistant Prosecutor,
of counsel and on the brief).
PER CURIAM
Defendant William Stovall appeals from the August 29, 2017 order that

denied his motion to correct an illegal sentence. In denying the motion, the trial

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Case 3:20-cv-01709-BRM Document 1-2 Filed 02/18/20 Page 99 of 111 PagelID: 120

court stated the motion was moot because defendant "already exhausted [his]
appeal remedies and [his] post-conviction relief remedies." The trial court then

addressed each of defendant's arguments. We affirm the order on | substantive

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grounds.
I

Defendant was indicted in 1991 for attempting to procure weapons and
explosives in order to escape from prison. He was convicted by a jury in 1994
of all counts against him in the indictment. Relevant here, defendant was
convicted under count two of second-degree attempt to escape, N.J.S.A. 2C:5-1
and 2C:29-5(a), and under count four of second-degree attempt to procure
escape implements (firearms, ammunition, and explosives), N.J.S.A.2C:5-1 and

2C:29-6(a)(2).! We have set forth in detail the factual background of the case

 

| His other convictions included: second- degree conspiracy to escape, N.J.S.A.
2C:5-2 and N.J.S.A. 2C:29- -5(a) (count one); second-degree attempt to possess ©
weapons (firearms) for unlawful purposes, N.J.S.A. 2C:5-1 and 2C:39-4(a)
(count six); second-degree attempt to possess weapons (destructive devices) for
unlawful purposes, N.J.S.A. 2C:5-1 and 2C:39-4(c) (count seven); third-degree
attempt to unlawfully possess weapons (handguns), N.J.S.A. 2C:5-1 and 2C:39-
5(b) (count eight); third-degree attempt to unlawfully possess a weapon (assault
firearm), N.J.S.A. 2C:5-1 and 2C:39-5(f) (count nine); third-degree attempt to
possess prohibited devices (explosives), N.J.S.A. 2C:5-1 and 2C:39-3(a) (count
ten); fourth-degree attempt to possess a prohibited device (silencer), N.J.S.A.
2C:5-1 and 2C:39-3(c) (count eleven); and fourth-degree possession of

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in our unreported opinion that affirmed defendant's convictions on direct appeal,
and do not have need to repeat it here. See State v. Stovall (Stovall I), No. A-
0850-94 (App. Div. Dec. 2, 1996).

In 1994, defendant was sentenced. Count one was merged into count two.
He was sentenced to an extended term of twenty years of imprisonment on count
two with a ten-year period of parole ineligibility. This was to be served
consecutively to the sentence he was already serving.? Defendant was sentenced
to a ten-year term of imprisonment on count four with a ten-year period of parole
ineligibility. This was to be served consecutive to count two.* Thus, defendant's
aggregate term was thirty years in prison with a twenty-year period of parole

ineligibility.

 

prohibited devices (body-armor breaching or penetrating ammunition), N.J.S.A.

5 LC :39-3(f)(2) (count twelve).

Detect petition for certification was denied. State v. Stovall, 149 N.J. 35
1998). In 2016, we affirmed an order that denied defendant's petition for post-
conviction relief in an unreported opinion, State v. Stovall (Stovall II), No. A-
1162-13 (App. Div. Feb. 17,-2016)._The Supr Court denied his petition for

certification. |State v. Stovall, 227 N.J. 213 (2016),

3 He was serving a seventy-five year term with a thirty-six year period of parole
ineligibility.

 

4 His sentences on the other counts ranged from eighteen months on counts
eleven and twelve to a ten-year term on count seven, all of which were to be
served concurrent to one another and concurrent to counts two and four.

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The 1994 judgment of conviction incorrectly listed defendant's aggregate
term as twenty years. In Stovall I, we addressed defendant's axpuiteets that his
sentence was excessive and illegal. We concluded the trial court was correct to
merge count ants (conspiracy) into count two. Stovalll, slip op. at 17. However,
we vacated the sentence on count four because defendant was sentenced to ten
years under N.J ‘S.A. 2C:43-6(g), which concededly did not apply to a violation
of N.J.S.A. 2C:29-6(a)(2).5 Ibid. The sentence was vacated and remanded for
resentencing. Id. at 20.

In 1997, defendant was resentenced to a twenty-year term on count two
with ten years of parole ineligibility to be served consecutively to the sentence
he then was serving. On count four, he was sentenced to a Rocyeli term to run
consecutively to count two. However, the judgment of conviction provided the
aggregate custodial term was twenty years rather than thirty years. In 1998, an
assistant prosecutor wrote to the trial judge advising the judgment of conviction

should have said the total custodial sentence was thirty years, rather than twenty,

 

5 We also remanded the sentence on count six for reconsideration in light of
State v. Latimore, 197 N.J. Super. 197, 221 (App. Div. 1984).

6 He was resentenced on count six to a ten-year term with a five-year period of
parole ineligibility.

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with a fifteen-year period of parole ineligibility. Thereafter, the judgment of
conviction was amended to correctly reflect a total custodial term of thirty years.

In 2016, defendant filed a motion to correct an illegal sentence and
supported it with multiple briefs. The motion was denied on August 29, 2017.
The trial court rejected defendant's argument that count four should have been
merged into count two because it reasoned each of the convictions "require[d]
elements that the other [did] not." The court noted, "an acquittal of conviction
under one statute [did] not preclude punishment under another statute from the
same eh or transaction, provided that all the elements of the second offense
[were] still met." The court observed, "an attempt to escape and ‘i attempt to
possess a weapon in an escape are clearly separate offenses and require different
facts." It rejected defendant's argument that the same evidence could not be
used to convict under separate counts. Because defendant was convicted under
separate counts, the court found the thirty-year aggregate sentence was "the
correct and appropriate sentence." The correction of the judgment to reflect an
aggregate term was a clerical correction. This was not an increase in his
sentence. The trial court disagreed with defendant that the jury's verdict sheet
was ambiguous because the "second-degree charge [he was] sentenced to jhas

not been challenged or changed throughout [his] long procedural history." The

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trial court held that because defendant was convicted of an attempt to procure
weapons, the physical possession of them was not a material element of that
crime.
On appeal, defendant raises the following issues:

POINT I

DEFENDANT'S MOTION WAS TIMELY.

‘POINT II

MERGER OF COUNT FOUR INTO COUNT TWO

MUST BE HAD SINCE THE COURT FAILED TO

INSTRUCT TO NOT RELY ON THE EVIDENCE

PRESENTED TO PROVE COUNT TWO AS PROOF

OF COUNT FOUR.

POINT II

IT WAS ILLEGAL FOR THE COURT TO

SENTENCE ON THE SECOND DEGREE CHARGES

WHEN THE JURY DISREGARDED THE COURT'S

INSTRUCTION TO NOT FIND DEFENDANT

GUILTY OF BOTH SECOND AND THIRD DEGREE

OFFENSES OF THE SAME CRIME.

a. Ambiguity In Verdicts
b. The Rule of Lenity
POINT IV
THE SECOND DEGREE SENTENCE IMPOSED ON

COUNT FOUR IS ILLEGAL PURSUANT TO THE
FOURTEENTH AMENDMENT BECAUSE

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DEFENDANT NEVER POSSESSED THE
IMPLEMENTS OF ESCAPE INSIDE THE PRISON.

POINT V

AN INCREASE IN SENTENCE AFTER ENTRY OF
AN AMENDED JUDGMENT OF CONVICTION IS
UNCONSTITUTIONAL PURSUANT TO THE
DOUBLE JEOPARDY PROVISIONS OF THE
FEDERAL AND STATE CONVICTIONS [SIC], AND
MINIMAL DUE PROCESS.

a. Procedural Due Process, Double
Jeopardy Concerns Generally

' b. Substantive Due Process Implications
POINT VI
DEFENDANT WAS CONSTITUTIONALLY
ENTITLED TO BE PRESENT FOR ANY

RESENTENCING OR PROVIDE INPUT. THUS, HE
REMAINS ENTITLED TO A RESENTENCING.

a. State Provisions
b. Applicable Federal Law
II
Whether a sentence is illegals is an issue of law that we review de novo.

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See Staté v. Drake, 444 NJ. Super. 265, 271 (App. Div. 2015). "An illegal

 

sentence that has not been completely served may be corrected at any time

without impinging upon double-jeopardy principles." State v. Austin, 335 NJ.
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Super. 486, 494 (App. Div. 2000).//"Our Supreme Court has defined 'an illegal

sentence [as] one that "exceeds the maximum penalty provided in the Code for
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a particular offense" or a sentence "not imposed in accordance with law.""" State

 

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v. Hyland, 452 N.J. Super. 372, 381 (App. Div. 2017) (quoting State Vv. Acevedo
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205 NJ. 40, 45 (2011)), aff'd as modified, 238 NJ. 135 (2019). "A sentence

 

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‘not eee in accordance with law' includes a ‘disposition [not] authorized by

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the Code." Ibid. (quoting State v. Murray, 162 N.J. 240, 247 (2000)). Under
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Rule 3:21-10(b), "an order may be entered at any time . . . correcting a sentence

not authorized by law including the Code of Criminal Justice." /”

yf Defendant has not argued that his sentences exceeded the maximum

custodial terms as extended or that law did not authorize them. His arguments

are that the sentences are violative of the double jeopardy or due process clauses .
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We agree with the State that defendant could have raised any of these
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issues in his prior appeals or in his PCR petition. Generally, we "will not
consider issues, even constitutional ones, which were not raised below." State

v. Galicia, 210 N.J. 364, 383 (2012) (citing Deerfield Estates, Inc. v. E.

 

Brunswick, 60 N.J. 115, 120 (1972)). Defendant has not raised any issues that

warrant further review of his sentence.

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Defendant contends the trial court should have merged count four into
count two for sentencing, but the convictions were for separate offenses,
requiring proof of separate elements. Defendant was convicted under count two
of second-degree attempt to escape, contrary to N.J.S.A. 2€:5-1 and 2C:29-S(a).
As the trial court instructed, a conviction required:

proof beyond a reasonable doubt that the defendant was

confined in an institution on a charge or a conviction,

that the defendant attempted to engage in conduct[,]

which would result in his own removal from custody,

that the defendant had no legal right to do so, and that

the defendant acted knowingly.
Although ordinarily a crime of the third degree, it is elevated to second degree
where "there is proof beyond a reasonable doubt that the actor attempted to
employ force, threat, a deadly weapon or other dangerous instrumentality to
effect the escape."

Defendant was convicted under count four of second-degree attempt to
procure escape implements (firearms, ammunition, and explosives) contrary to
N.J.S.A. 2C:5-1 and 2C:29-6(a)(2). Under this count, the State had to prove
beyond a reasonable doubt that defendant "was an inmate of an institution, that

the [d]efendant attempted to procure the weapons mentioned . . . that [the]

weapons might be useful for an escape, and that the [dJefendant acted both

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knowingly and unlawfully." When the attempt was to obtain "weapons" as
defined, then the offense was a second-degree offense rather than a third degree.

Our Supreme Court stated that "[t]he Double Jeopardy Clause contains
three protections for defendants. It protects against (1) 'a second prosecution
for the same offense after acquittal,’ (2) 'a second prosecution for the same
ottense after conviction,’ and (3) }nultipl punishments for the same offense.'"

Staté t. Miles, 229 N.J. 83, 92 (2017) (quoting North Carolina v. Pearce, 395

   

U.S. 711, 717 (1969)), The Court noted that what was common to the three
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protections "is the ¢oncept of 'same offense." Ibid. "Accordingly, a prime

concern when reviewing a double-jeopardy claim is ‘whether the second

prosecution is for the same offense involved in the first.'" Id. at 92-93 (quoting

State v. Yoskowitz, 116 N.J. 679, 689 (1989)). In Miles, the Court adopted the

 

"same-elements test as the sole double-jeopardy analysis" and instructed that it

would not "recognize the same-evidence test as a measure of whether two
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offenses constitute the same offense." Id. at 96,)
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The Double Jeopardy Clause was not violated here. The elements of the

offenses under counts two and four are plainly distinct; they do not involve the

same elements. One is an attempt by defendant to remove himself from

detention; the other is an attempt to procure weapons while in custody.

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Applying Miles, there is no Double Jeopardy Clause violation and, of course, no
necessity to merge the counts for purposes of sentencing. Merger was not
required by N.J.S.A. 2C:1-87-~>

Defendant's argument that the same evidence was used to convict him
under counts two and four is-incorrect in light of the separate elements for these

counts, and is out of step with Miles because that analysis focuses on whether

the elements of the crimes are the same. We reject defendant's argument that

the attempt to procure weapons—that elevated the crimes to second degree—
somehow required merger. That fact did not take what otherwise were separate
crimes (attempt to escape and attempt to procure weapons) and meld them into
one. There is no evidence the legislature intended that result nor does it make
any logical sense.

Similarly lacking is defendant's argument that a conviction under count

four required the actual possession of a weapon. That.is not an element of the

offense, particularly when what is charged is an attempt. When an attempt is
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involved, the focus is on the defendant's intent, State v. Robinson, 136 N.J. 476,
483 (1994). "[OJne of the main purposes of the Code's criminal attempt statute,

N.J.S.A. 2C:5-1, is to ensure that a person who acts with the purpose of

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committing a crime does not escape punishment merely because the crime was
- not completed." Ibid. Actual possession is not required.

Defendant argues that the trial court increased his sentence when it
corrected a clerical error on the judgment of conviction. He does not seem to
dispute that the trial judge sentenced him to a twenty-year term on oun two
and a ten-year term on count four to run consecutively. Despite this, the

_ judgments of conviction said that the total term was twenty years. This error
was corrected in 1998. By simple math, the aggregate term was thirty years.
This is what the judgment of conviction was corrected to say. There was no
increase in his sentence: The trial court had the ability to correct a clerical-type
error "on its own initiative or on the motion of any party...." R. 1:13-1; see

State v. Matlack, 49 N.J. 491, 501-502 (1967) (providing that "[n]o fundamental

 

right of defendant will be violated if an inadvertent clerical-type error is
corrected, and he receives the sentence which the trial judge intended him to
receive"). "It is firmly established that the sentencing transcript is ‘the true

source of the sentence." State v. Walker, 322 N.J. Super. 535, 556 (App. Div.

 

1999) (quoting State v. Pohlabel, 40 N.J. Super. 416, 423 (App. Div. 1956)).

There was no requirement in the Rule that defendant be present when the clerical

correction was made.
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Defendant contends the rule of lenity should apply to the verdict sheet
because the jury checked both boxes under counts two and four and that this
should be used to lower his convictions to third-degree offenses.

The rule of lenity is an important principle of statutory
construction; if a statutory ambiguity cannot be
resolved by analysis of the relevant text and the use of
extrinsic aids, the rule requires that the ambiguity be.
resolved in favor of the defendant. The rule of lenity
derives from the principle that "[nJo one shall be
punished for a crime unless both that crime and its
punishment are clearly set forth in positive law."

[State v. Regis, 208 N.J. 439, 451-52 (2011) (citations
omitted) (quoting In re DeMarco, 83 N.J. 25, 36
(1980)).]

 

Our Supreme Court has made clear that the rule is limited in its application.
"{T]he rule of lenity is applied only if a statute is ambiguous, and that ambiguity

is not resolved by a review of ‘all sources of legislative intent.'" Id. at 452

 

(quoting State v. D.A., 191 N.J. 158, 165 (2007)).

The rule does not apply because the ambiguity of a statute is not in issue
in this case. In addition, defendant did not previously raise this issue although
he had the opportunity to do so in his direct appeal. Although we are not

required to consider the issue, see Galicia, 210 N.J. at 383, we agree with the

 

trial judge that the checked boxes indicated the jury agreed that the State proved
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second-degree offenses. There was no ambiguity reflected in the transcript. The

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jury foreperson announced the jury's verdict on both counts as being in the
second degree and the jury thereafter was polled, indicating agreement.

None of defendant's issues raised any due process concerns. We conclude
that defendant's further arguments are without sufficient merit to warrant
discussion in a written opinion. R. 2:11-3(e)(2).

Affirmed.

| hereby certify that the foregoing
is a true copy of the original on

file in my office. AY

CLERK OF THE ‘TE DIVISION

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